Case 2:24-cv-03552-RER-SIL                Document 28-4           Filed 10/28/24   Page 1 of 131 PageID
                                                 #: 485



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------------X
                                                                            Case No. 24-cv-3553-RER
 THE LAW OFFICES OF ERICA T. YITZHAK
 AND ERICA T. YITZHAK, ESQ. P.C.,                                           DECLARATION
                                                                            OF PAUL W. VERNER

                                            Petitioners,

                  -against-


 TROY LAMBE, MAX DIVERSIFIED INC.,
 SUNRAY SOLAR INC. AND PAUL VERNER,

                                             Respondents,
 -----------------------------------------------------------------------X


 PAUL W. VERNER, pursuant to 28 U.S.C §1746, hereby declares the follows facts and submits

 the appended authenticated documents under penalty of perjury under the laws of the United States

 in satisfaction of the Court’s Minute Order dated June 25, 2024 (ECF#010):

 1.      Attached here as Exhibit A is a true and correct copy of my Retainer Agreement with Troy

 Lambe and his companies whereby I was retained to litigate the federal case of Lambe, Sunray

 Solar et al. v. Kahlon and Atlas Solar Holdings, LLC and Erica T. Yitzhak, Case No. 13-cv-3126.

 (the “Federal Action”).

 2.       Attached here as Exhibit B is a true and correct copy of the judgment after jury verdict for

 $1 Million against the Kahlon Defendants in that case entered on February 1, 2016 and the

 Mandate after the Second Circuit affirmed the verdict and judgment on September 1, 2017 after

 Kahlon/Atlas’ appeal.

 3.       Prior to jury’s verdict, on January 29, 2016, in Court, the then Yitzhak Defendants settled

 with my clients for the balance of their insurance policy issued through CNA. The balance of the
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 self-liquidating policy was approximately $595,000 when those settlement funds were tendered to

 me as attorney for the Lambe/Sunray Plaintiffs or about March 11, 2016.

 4.     Attached as Exhibit C is a true and correct copy of my redacted Wells Fargo New York

 IOLTA account statement showing the deposit of the Yitzhak settlement funds on March 11, 2016.

 5.     Because of multiple state court lawsuits commenced by the Kahlon Defendants in Nassau

 County Supreme Court throughout 2016 and 2017 to frustrate turnover of the $1 Million appellate

 surety bond, even after the Second Circuit affirmed the verdict and the $1 Million judgment, the

 surety bond satisfying the Kahlon cash bond staying enforcement pending his appeal was not

 delivered to me as attorney for the Lambe/Sunray Plaintiffs until about May 7, 2018.

 6.     Attached as Exhibit D is a true and correct copy of my redacted Wells Fargo New York

 IOLTA account statement showing the deposit of the Kahlon surety bond proceeds on May 4 and

 7, 2018.1

 7.     Part of the settlement terms made between the Lambe/Sunray Plaintiffs and the former

 Yitzhak Defendants was the stipulated terms that if in the future, the Kahlon Defendants lodged

 their threatened by unfiled Cross-Claim for attorney malpractice against attorney Yitzhak, I would

 be appointed defense counsel because of my knowledge of the underlying facts and law. The

 Lambe/Sunray Plaintiffs would indemnify Yitzhak and pay the defense costs and my attorneys’

 fees. Attached as Exhibit E is a true and correct copy of the Yitzhak settlement agreement made

 on the record in Court and then later formalized and memorializing those terms.

 8.     Attached as Exhibit F is a true and correct copy of my joint October 17, 2017 Retainer

 Agreement with the former Lambe/Sunray Plaintiffs and the Yitzhak Defendants which covered




 1
        In the two years that the surety bond was in effect, $9000 in additional interest had accrued.
Case 2:24-cv-03552-RER-SIL              Document 28-4          Filed 10/28/24        Page 3 of 131 PageID
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 my work when Kahlon did, in fact, sue Yitzhak for malpractice in the case Kahlon, et al. v. Yitzhak,

 et al., Index No. 601659/2016 (Nassau Cty.)(hereinafter “Yitzhak Defense Case”).

 9.      Ultimately, the Yitzhak Defense Case approached a point where my fee bills outstripped

 the initial retainer which Mr. Troy Lambe had authorized and paid me. My Motion to Withdraw

 as counsel was heard by Justice Vito DeStefano in 2020 and I placed all financial records including

 those addressing the fact that all monies Lambe had left as Retainers with me (for the Yitzhak

 Defense Case and 4 other Lambe/Sunray defense cases I was handling for Lambe/Sunray, had been

 expended. Mr. Lambe and Ms. Yitzhak were privy to those 2020 filings. The Motion to Withdraw

 was denied with leave to renew.

 10.     Ultimately, in 2021 Justice DeStefano decided a summary judgment motion which was

 against attorney Yitzhak and her law firm. The Yitzhak Defendants then sued me and that action

 is now venued in the Southern District of New York – described by this Court as “the more fulsome

 litigation pending in the SDNY”. Minute Order, ECF#010.

 11.     As Mr. Lambe and Ms. Yitzhak are well aware1, no money was ever placed in my trust

 account by Mr. Lambe to satisfy any indemnity obligation he may have had to Ms. Yitzhak.

 Further, Mr. Lambe also is well-aware that all monies beyond my attorneys’ fees earned and costs

 reimbursed from the Federal Action, were retainers for his defense cases and for the Yitzhak

 Defense Case. They are both also fully aware from my Motion to Withdraw and fee accounting

 filed in Nassau County with Justice DeStefano that the retainers set up for the Yitzhak defense

 were expended and a balance was owed by Lambe. The current counsel for Yitzhak should be

 fully aware of these facts as well.




 1
          Both of them were working together when in 2022 the same attorney filed identical Summons with Notice
 against me in Nassau County Supreme Court. See, Exhibit G.
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                                           #: 488



 12.    Attached as Exhibit H are true and correct copies of my 2016 emails to and from Troy

 Lambe sent to him after the CNA funds for Yitzhak’s settlement had been received (and after

 predecessor attorney claims were compromised for $13,000). It is clear that the fees due my firm

 were deducted by agreement in the sum of $125,000 from a total settlement from Yitzhak’s carrier

 of $595,274.87. As seen in Exhibit H Mr. Troy Lambe’s acknowledged and verified the

 accounting of the Yitzhak settlement funds.

 13.    Attached as Exhibit I is a true and correct copy of my 2018 accounting to Troy Lambe sent

 to him after the Kahlon surety bond and interest in the total sum of $1,00,900.00 was received on

 May 4 and 7, 2018.

 14.    Attached as Exhibit J is a true and correct copy of Troy Lambe’s May 16, 2018

 acknowledging email back to me wherein he verified the 2018 accounting of the Kahlon surety

 bond and interest.

 15.    Finally, attached here as Exhibit K is a true and correct copy of the last invoice on the

 Yitzhak Defense Case showing a total of approximately $95,000 as against the initial Retainer of

 $50,000.

 16.    In summary, the Exhibits A – K show the receipt of the two settlement sums in 2016 and

 2018, the disbursements to the clients of net settlement proceeds after deducting my attorneys’ fees

 and the fact that the amounts left in my bank accounts were earmarked for defense costs in Yitzhak

 Defense Case and at least four other Lambe/Sunray defense cases

 17.    The IOLTA bank statements prove that all settlement funds were either paid out in

 attorneys’ fee or were paid to the Lambe/Sunray clients. This is shown by Exhibit J, Troy Lambe’s

 own email where he asserts he is entitled to receive $537,499 from the $1,009,000 in 2018 surety

 bond proceeds.

 18.    As is seen by Exhibit D, all of those funds were distributed as follows:
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                                           #: 489



                     $185,000 to Janet Lambe on May 17, 2018;
                     $15,000 to Max Diversified on May 21, 2018;
                     $275,000 to Troy Lambe on May 21, 2018
                     $62,449 to Troy Lambe on May 30, 2018
                     ______________________
                     $537,449 TOTAL

 19.    Accordingly, I respectfully request that this misguided Petition, designed to harass and

 without any basis, as the Petitioners and their counsel well know, should be dismissed.

 Dated: New York, New York
        July 25, 2024

                                                     /s/ Paul W. Verner
                                                     PAUL W. VERNER
                                                     PV-0274
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                                     #: 499
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Case2:13-cv-03126-LDW-AYS
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                                    #: 501


  United States District Court
  Eastern District Of New York

  ------------------------------X

  Troy Lambe, et al                                JUDGMENT IN A CIVIL CASE
                         Plaintiff(s)
                                                   13-CV-3126 (LDW)(AYS)
   -against-

  Yossef Kahlon, et al
                     Defendant(s)

  ------------------------------X


      X       Jury Verdict. This action came before the Court for a
              trial by jury. The issues have been tried and the jury
              rendered its verdict.


              Decision by Court. This action came to trial/hearing
              before the Court. The issues have been tried/heard and
              a decision has been rendered.


       IT IS ORDERED AND ADJUDGED that the plaintiffs (Troy Lambe,
  Sunray Solar, Inc. and Max Diversified, Inc.) be awarded
  compensatory damages in relation to all claims against the
  defendants (Yossef Kahlon, a.k.a. Jossef Kahlon, and Atlas Solar
  Holdings, LLC), except for plaintiffs’ claim for malicious
  prosecution, in the amount of seven hundred and fifty thousand
  dollars ($750,000.00). IT IS FURTHER ORDERED AND ADJUDGED that
  plaintiffs be awarded punitive damages against the defendants in
  the amount of two hundred and fifty thousand dollars
  ($250,000.00). IT IS FURTHER ORDERED AND ADJUDGED that the
  defendants take nothing of the plaintiffs and that their counter
  claim be dismissed on the merits.


                                                   DOUGLAS C. PALMER
                                                   Clerk of the Court

                                                   Eric L. Russo
                                                   By: Eric L. Russo
                                                   Deputy Clerk
  Dated: February 2, 2016
  Central Islip, New York
MANDATE
    Case 2:24-cv-03552-RER-SIL                Document 28-4 Filed 10/28/24          Page 18 of 131 PageID
                                                      #: 502


     16-2439-cv
     Lambe v. Atlas Solar Holdings LLC.

                                    UNITED STATES COURT OF APPEALS
                                        FOR THE SECOND CIRCUIT

                                                SUMMARY ORDER

     RULINGS BY SUMMARY ORDER DO NOT HAVE PRECEDENTIAL EFFECT. CITATION TO A
     SUMMARY ORDER FILED ON OR AFTER JANUARY 1, 2007, IS PERMITTED AND IS GOVERNED
     BY FEDERAL RULE OF APPELLATE PROCEDURE 32.1 AND THIS COURT’S LOCAL RULE 32.1.1.
     WHEN CITING A SUMMARY ORDER IN A DOCUMENT FILED WITH THIS COURT, A PARTY
     MUST CITE EITHER THE FEDERAL APPENDIX OR AN ELECTRONIC DATABASE (WITH THE
     NOTATION “SUMMARY ORDER”). A PARTY CITING A SUMMARY ORDER MUST SERVE A COPY
     OF IT ON ANY PARTY NOT REPRESENTED BY COUNSEL.



             At a stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York on the
     1st day of September, two thousand seventeen.

     Present:    JON O. NEWMAN,
                 ROSEMARY S. POOLER,
                 PETER W. HALL,
                             Circuit Judges.
     _____________________________________________________

     TROY LAMBE, SUNRAY SOLAR INC., MAX
     DIVERSIFIED INC.,

                               Plaintiffs-Counter-Defendants-Appellees,

                               v.                                                    16-2439-cv

     ATLAS SOLAR HOLDINGS, LLC, YOSSEF KAHLON,
     AKA JOSSEF KAHLON,

                       Defendants-Counter-Claimants-Appellants.
     _____________________________________________________

     Appearing for Appellants:            Kathyrn C. Cole, Farrell Fritz, P.C.(James M. Wicks, Sarah M.
                                          Baird, on the brief), Uniondale, NY

     Appearing for Appellees:             Paul W. Verner, Verner Simon, New York, NY.

     Appeal from the United States District Court for the Eastern District of New York (Wexler, J.).




                                                           1


MANDATE ISSUED ON 09/22/2017
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      ON CONSIDERATION WHEREOF, IT IS HEREBY ORDERED, ADJUDGED,
 AND DECREED that the judgment of said District Court be and it hereby is AFFIRMED.

         Atlas Solar Holdings, LLC and Yossef Kahlon (together, the “Kahlon Defendants”)
 appeal from (1) the February 2, 2016 judgment in favor of plaintiffs Troy Lambe, Sunray Solar
 Inc., and Max Diversified Inc. (together, “Plaintiffs”) entered in the United States District Court
 for the Eastern District of New York (Wexler, J.); (2) the January 29, 2016 order granting
 Plaintiffs’ motion for a directed verdict on the Kahlon Defendants’ counterclaim for fraud; and
 (3) the July 1, 2016 order denying the Kahlon Defendants’ motion to amend the judgment. We
 assume the parties’ familiarity with the underlying facts, procedural history, and specification of
 issues for review.

         The Kahlon Defendants argue that the district court exceeded its discretion in not
 allowing them to seek a post-judgment setoff against the jury award pursuant to New York
 General Obligations Law § 15-108. We disagree. “[T]he New York Court of Appeals warned
 that ‘as an affirmative defense, General Obligations Law § 15–108(a) must be pled by a
 tortfeasor seeking its protection.’” Schipani v. McLeod, 541 F.3d 158, 161 (2d Cir. 2008) (citing
 Whalen v. Kawasaki Motors Corp., U.S.A., 92 N.Y.2d 288, 292 (1998)). A party may move “at
 any point before final judgment is entered” to amend its answer to assert a setoff pursuant to
 Section 15-108. Id. at 159.

        The Kahlon Defendants argue amendment of their answer was unnecessary because their
 answer already pled a setoff as an affirmative defense. Their answer pled, in relevant part, that:

                 The relief sought by Plaintiff against Defendants, if any be found,
                 must be set off, reduced, abated and/or apportioned to the extent
                 that Plaintiff’s actions or omissions or bad faith caused or
                 contributed to the damages and/or to the extent that Plaintiff’s
                 actions and/or omissions caused damage to Defendants.

 App’x at 142.

         This pleading is inadequate because the setoff it describes was to occur “to the extent that
 Plaintiff’s actions or omissions or bad faith caused or contributed to the damages . . . .” A plain
 reading of the defense, as pled, means any award to the Plaintiffs must be decreased to the extent
 that the Plaintiffs caused or contributed to the damages. The answer does not satisfy New York’s
 requirement that a Section 15-108 setoff be pled as an affirmative defense.

         The district court did not exceed its discretion in denying the motion to amend post-
 judgment. “When the moving party has had an opportunity to assert the amendment earlier, but
 has waited until after judgment before requesting leave, a court may exercise its discretion more
 exactingly.” State Trading Corp. of India, Ltd. v. Assuranceforeningen Skuld, 921 F.2d 409, 418
 (2d Cir. 1990).

       Moreover, the Kahlon Defendants failed to properly preserve this issue for appeal. The
 Kahlon Defendants make their argument regarding the district court’s denial of its motion to


                                                  2
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 amend in a footnote in their opening brief. Appellants’ Br. at 36 n. 13. “We do not consider an
 argument mentioned only in a footnote to be adequately raised or preserved for appellate
 review.” United States v. Restrepo, 986 F.2d 1462, 1463 (2d Cir. 1993). In their reply brief, the
 Kahlon Defendants reverse their position by stating in a footnote that they are not seeking to
 amend the answer. Appellants’ Reply Br. at 7 n.5 (“we do not seek to amend our Answer.”).

        We have considered the remainder of the Kahlon Defendants’ arguments and find them
 to be without merit. Accordingly, the judgment of the district court hereby is AFFIRMED.


                                                      FOR THE COURT:
                                                      Catherine O’Hagan Wolfe, Clerk




                                                  3
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                                                               ®   #: 505
Basic Business Checking IOLTA
Account number:                             ■   March 1, 2016 - March 31, 2016        ■   Page 1 of 4




                                                                                                       Questions?
VERNER SIMON INC                                                                                       Available by phone 24 hours a day, 7 days a week:
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                                                                                                      Business Bill Pay                                  ✓
                                                                                                      Business Spending Report                           ✓
                                                                                                      Overdraft Protection




        IMPORTANT ACCOUNT INFORMATION

Periodically, we may evaluate the timing of statements, monthly service fee assessment and interest payments to your accounts. We
may adjust the timing in order to align your statement, monthly service fee assessment (if any) and interest payment dates with one
another. You may receive a partial statement that reflects activity and interest payments from the last statement date to the date of
the change. No monthly service fees will be assessed during a partial statement period and there will be no impact to your interest rate
or compounding frequency.



Activity summary                                                                                       Account number: 5

       Beginning balance on 3/1                                $7,293,871.45                           VERNER SIMON INC
       Deposits/Credits                                           595,625.79                           NY IOLA ATTORNEY SPECIAL ACCOUNT

       Withdrawals/Debits                                      - 5,066,300.78                          New York account terms and conditions apply
                                                                                                       For Direct Deposit use
       Ending balance on 3/31                                 $2,823,196.46
                                                                                                       Routing Number (RTN): 026012881

       Average ledger balance this period                      $3,060,466.33                           For Wire Transfers use
                                                                                                       Routing Number (RTN): 121000248




      (348)
     Sheet Seq = 0065573
     Sheet 00001 of 00002
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                                                                    #: 506
Account number:                            ■   March 1, 2016 - March 31, 2016        ■     Page 2 of 4




Interest summary
     Interest paid this statement                                    $350.92
     Average collected balance                                 $3,060,466.33
     Annual percentage yield earned                                    0.14%
     Interest earned this statement period                           $350.92
     Interest paid this year                                         $386.00
     Total interest paid in 2015                                     $240.94




Transaction history

                        Check                                                                                 Deposits/         Withdrawals/         Ending daily
     Date              Number Description                                                                       Credits                Debits            balance




     3/11                           Deposit Made In A Branch/Store                                          595,274.87                              3,183,191.71
     3/21




     3/21                           WT                                  Janet Lambe Srf#                                          320,250.00        2,834,351.71
                                    0                5 Trn#1           57 Rfb#
     3/23                           Wire Trans Svc Charge - Sequence: 1             Srf#                                               30.00
                                    Trn#              Rfb#




     Ending balance on 3/31                                                                                                                        2,823,196.46
     Totals                                                                                               $595,625.79         $5,066,300.78

     The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
     transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.
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                                                                    #: 507
Account number: 5                         ■   March 1, 2016 - March 31, 2016            ■   Page 3 of 4




         IMPORTANT ACCOUNT INFORMATION

Effective April 1, 2016, your account will no longer be subject to a $5 monthly service fee. This fee was netted against interest paid as
allowable by law. The entire amount of interest earned on this account will be sent to the applicable State Foundation effective with
the April 2016 remittance.

All other terms and conditions of your account will remain the same. If you have questions please contact your local
banker or call the phone number listed at the top of your statement.



Overdraft Fee Waiver Clarification: We will waive any overdraft fees if both your ending daily account balance (posted balance) and
your available balance (which includes pending transactions) are overdrawn by $5 or less and there are no items returned for
insufficient funds at the end of our nightly processing. This fee waiver is associated with the total overdrawn balance, not the dollar
size of the transaction(s) contributing to the overdrawn balance. To find out more about online banking tools that Wells Fargo offers to
help you manage and track your spending, visit wellsfargo.com/biz/online_banking. For additional information, see your Account
Agreement, speak with a local banker, or call the phone number on the top of your statement.




      Sheet Seq = 0065574
      Sheet 00002 of 00002
        Case 2:24-cv-03552-RER-SIL                                                    Document 28-4 Filed 10/28/24                      Page 24 of 131 PageID
                                                                                              #: 508
Account number:                                               ■    March 1, 2016 - March 31, 2016     ■   Page 4 of 4




General statement policies for Wells Fargo Bank

■  Notice: Wells Fargo Bank, N.A. may furnish information about accounts                            You must describe the specific information that is inaccurate or in dispute
belonging to individuals, including sole proprietorships, to consumer                               and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the                       information that relates to an identity theft, you will need to provide us with
accuracy of information that we have reported by writing to us at: Overdraft                        an identity theft report.
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.



Account Balance Calculation Worksheet                                                                   Number                    Items Outstanding                       Amount

1. Use the following worksheet to calculate your overall account balance.
2. Go through your register and mark each check, withdrawal, ATM
   transaction, payment, deposit or other credit listed on your statement.
   Be sure that your register shows any interest paid into your account and
   any service charges, automatic payments or ATM transactions withdrawn
   from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
   outstanding checks, ATM withdrawals, ATM payments or any other
   withdrawals (including any from previous months) which are listed in
   your register but not shown on your statement.

ENTER
A. The ending balance
   shown on your statement . . . . . . . . . . . . . . . . . . . . . $.

ADD
B. Any deposits listed in your                                                 $
   register or transfers into                                                  $
   your account which are not                                                  $
   shown on your statement.                                                  + $

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                              . ..$

CALCULATE THE SUBTOTAL
  (Add Parts A and B)

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                             .. ..$

SUBTRACT
C. The total outstanding checks and
   withdrawals from the chart above . . . . . . . . . . . . . - $

CALCULATE THE ENDING BALANCE
  (Part A + Part B - Part C)
  This amount should be the same
  as the current balance shown in
  your check register . . . . . . . . . . . . . . . . . . . . . . . . . .$. .


                                                                                                                                                    Total amount $




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                                                              ®   #: 509
Basic Business Checking IOLTA
Account number: 5848704903                 ■   May 1, 2018 - May 31, 2018     ■      Page 1 of 3




                                                                                                   Questions?
VERNER SIMON INC                                                                                   Available by phone 24 hours a day, 7 days a week:
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Find out more at wellsfargoworks.com/plan.
                                                                                                   like to add new services.

                                                                                                   Business Online Banking                            ✓
                                                                                                   Online Statements                                  ✓
                                                                                                   Business Bill Pay                                  ✓
                                                                                                   Business Spending Report                           ✓
                                                                                                   Overdraft Protection




Activity summary                                                                                   Account number: 5              3
      Beginning balance on 5/1                                   $4,336.85                         VERNER SIMON INC
      Deposits/Credits                                        1,009,593.03                         NY IOLA ATTORNEY SPECIAL ACCOUNT

      Withdrawals/Debits                                      - 594,043.03                         New York account terms and conditions apply
                                                                                                   For Direct Deposit use
      Ending balance on 5/31                                  $419,886.85
                                                                                                   Routing Number (RTN): 026012881

      Average ledger balance this period                       $687,684.38                         For Wire Transfers use
                                                                                                   Routing Number (RTN): 121000248



Interest summary
      Interest paid this statement                                 $584.03
      Average collected balance                                $687,684.38
      Annual percentage yield earned                                 1.00%
      Interest earned this statement period                        $584.03
      Interest paid this year                                      $584.56




    (348)
    Sheet Seq = 0075666
    Sheet 00001 of 00002
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                                                                    #: 510
Account number:                     3    ■   May 1, 2018 - May 31, 2018          ■   Page 2 of 3




Transaction history

                         Check                                                                                  Deposits/         Withdrawals/         Ending daily
       Date             Number Description                                                                        Credits                Debits            balance



       5/4                        WT Fed#01499 Frost National Ban /Org=Suretec Insurance                     1,003,557.18
                                  Company Srf# 2018050400004050 Trn#180504123616 Rfb#
       5/4                        Wire Trans Svc Charge - Sequence: 180504123616 Srf#                                                    15.00
                                  2018050400004050 Trn#180504123616 Rfb#


       5/7                        WT Fed#00262 Frost National Ban /Org=Suretec Insurance                         5,442.82
                                  Company Srf# 2018050700000964 Trn#180507051834 Rfb#


       5/7                        Wire Trans Svc Charge - Sequence: 180507051834 Srf#                                                    15.00        1,008,985.85
                                  2018050700000964 Trn#180507051834 Rfb#




       5/16                       Online Transfer to Verner Simon Inc Business Checking                                              50,000.00          957,455.85
                                  xxxxxx7097 Ref #Ib04Lvxnmx on 05/16/18
       5/17                       Wire Trans Svc Charge - Sequence: 180517053872 Srf#                                                    30.00
                                  Tr                 2 Rfb#
       5/17                       WT Fed                               Janet Lambe Srf#                                             185,000.00          772,425.85
                                  Trn#1                Rfb#
       5/21                       Wire Trans Svc Charge - Sequence:                 Srf#                                                 30.00
                                                          #
       5/21                       Wire Trans Svc Charge - Sequence:                 Srf#                                                 30.00
                                  T                    Rfb#
       5/21                                                                  =Max Diversified Inc                                    15,000.00
                                  Srf# T                    Rfb#
       5/21                       WT                                        =Troy Lambe Srf#                                        275,000.00          482,365.85
                                  T                    Rfb#
       5/30                       Wire Trans Svc Charge -                           Srf#                                                 30.00
                                  Trn                  Rfb#
       5/30                       WT                                        Troy Lambe Srf#                                          62,449.00          419,886.85
                                  Trn                  Rfb#
       5/31                       Interest Payment                                                                 584.03
       5/31                       Int Transferred to NY 000003377001239                                                                 584.03          419,886.85
       Ending balance on 5/31                                                                                                                          419,886.85
       Totals                                                                                             $1,009,593.03           $594,043.03

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




        IMPORTANT ACCOUNT INFORMATION

Important information about legal process fees.

The fee for legal order processing, which includes handling levies, writs, garnishments, and any other legal documents that require
funds to be attached, remains $125. The Bank will assess no more than a total of $250 in legal process fees per account, per calendar
month. Please note that the calendar month may not coincide with your statement cycle.
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Account number:                                               ■    May 1, 2018 - May 31, 2018    ■   Page 3 of 3




General statement policies for Wells Fargo Bank

■  Notice: Wells Fargo Bank, N.A. may furnish information about accounts                             You must describe the specific information that is inaccurate or in dispute
belonging to individuals, including sole proprietorships, to consumer                                and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the                        information that relates to an identity theft, you will need to provide us with
accuracy of information that we have reported by writing to us at: Overdraft                         an identity theft report.
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.



Account Balance Calculation Worksheet                                                                    Number                    Items Outstanding                       Amount

1. Use the following worksheet to calculate your overall account balance.
2. Go through your register and mark each check, withdrawal, ATM
   transaction, payment, deposit or other credit listed on your statement.
   Be sure that your register shows any interest paid into your account and
   any service charges, automatic payments or ATM transactions withdrawn
   from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
   outstanding checks, ATM withdrawals, ATM payments or any other
   withdrawals (including any from previous months) which are listed in
   your register but not shown on your statement.

ENTER
A. The ending balance
   shown on your statement . . . . . . . . . . . . . . . . . . . . . $.

ADD
B. Any deposits listed in your                                                 $
   register or transfers into                                                  $
   your account which are not                                                  $
   shown on your statement.                                                  + $

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                              . ..$

CALCULATE THE SUBTOTAL
  (Add Parts A and B)

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                             .. ..$

SUBTRACT
C. The total outstanding checks and
   withdrawals from the chart above . . . . . . . . . . . . . - $

CALCULATE THE ENDING BALANCE
  (Part A + Part B - Part C)
  This amount should be the same
  as the current balance shown in
  your check register . . . . . . . . . . . . . . . . . . . . . . . . . .$. .


                                                                                                                                                     Total amount $




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       Sheet Seq = 0075667
      Case 2:24-cv-03552-RER-SIL       DocumentA608
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                                               #: 512




                                                                                             903
                  1                     UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF NEW YORK
                  2

                  3   -------------------------------X
                      TROY LAMBE, SUNRAY SOLAR, INC.,
                  4   and MAX DIVERSIFIED, INC.,
                                                                     CV-13-03126
                  5
                                 Plaintiffs,
                  6                                                  United States Courthouse
                           -against-                                 Central Islip, New York
                  7
                      YOSSEF KAHLON, a/k/a JOSSEF
                  8   KAHLON, ATLAS Solar Holdings LLC,
                      ERICA T. YITZHAK, THE LAW
                  9   OFFICES OF ERICA T. YITZHAK,
                      and ERICA T. YITZHAK, ESQ. ,P.C.,
                 10                                                  January 29, 2016
                                     Defendants.                     9:30 a.m.
                 11   -------------------------------X

                 12                     TRANSCRIPT OF TRIAL
                             BEFORE THE HONORABLE LEONARD D. WEXLER
                 13        UNITED STATES DISTRICT COURT JUDGE, and a jury
                 14
                      APPEARANCES:
                 15
                      For the Plaintiffs:              VERNER SIMON
                 16                                    30 Wall Street, 8th Fl.
                                                       New York, NY 10005
                 17                                    By: PAUL W. VERNER, ESQ.
                 18
                 19   For the Kahlon Defts:            LAW OFFICE OF MICHAEL BOTTON
                                                       1315 Main Street
                 20                                    Belmar, New Jersey 07719
                                                       By: MICHAEL BOTTON, ESQ.
                 21
                 22                                    THE LAW FIRM OF JAMES F. QUINN
                                                       626 RXR Plaza
                 23                                    Uniondale, NY 11556-0626
                 24
                                                        (Cont'd)
                 25




1 of 27 sheets                              Page 903 to 903 of 960
     Case 2:24-cv-03552-RER-SIL                    Document 28-4
                                                             A609 Filed 10/28/24                            Page 29 of 131 PageID
                                                           #: 513
                                                            904                                                                      906
 1    For the Yitzhak Defts:  KAUFMAN DOLOWICH VOLUCK
                        135 Crossways Park Dr., Ste. 201
                                                                           1               MR. BOTTON: He has every right.
 2                        Woodbury, New York 11797                         2               THE COURT: Put your stipulation in.
                        By: MICHAEL V. DeSANTIS, ESQ.                      3               THE WITNESS: Obviously the parties, the Yitzhak
 3                         MEGAN E. YLLANES, ESQ.
                           BRET SCHER, ESQ.                                4   defendants and the plaintiffs will be exchanging general
 4                                                                         5   releases.
      Court Reporter(s):         OWEN WICKER                               6               The Yitzhak defendants will agree to pay the
 5                         PAUL LOMBARDI
                           100 Federal Plaza - Suite 1180                  7   remaining policy limits on her CNA professional liability
 6                         Central Islip, New York 11722                   8   policy capped at $650,000.
                           (631) 712-6102                                  9               The plaintiffs are going to give CNA to
 7
                                                                          10   reconcile all bills and make sure we come out with the
 8                                                                        11   exact number which will be no higher than $650,000.
                                                                          12               MR. VERNER: And no less than roughly --
 9     Proceedings recorded by mechanical stenography;
       transcript produced by computer aided transcription                13               MR. SCHER: -- no less than 600,000, we believe.
10                                                                        14               MR. VERNER: Correct.
11
                                                                          15               MR. SCHER: Part of that settlement, as I said,
12
13                                                                        16   there will be full exchange between the Yitzhak defendants
14                                                                        17   as well as the plaintiffs.
15
                                                                          18               The Yitzhak defendants are also going to accept
16
17                                                                        19   a hold harmless from the plaintiffs.
18                                                                        20               MR. VERNER: Stipulated.
19
                                                                          21               MR. SCHER: With respect to any potential claims
20
21                                                                        22   or actually claims that may be brought by the Kahlon
22                                                                        23   parties or their agents, attorneys, etcetera. As part of
23
                                                                          24   that Ms. Yitzhak will agree to fully cooperate with the
24
25                                                                        25   plaintiffs with respect to the defense of any claim that
                                                            905                                                                      907
 1            MORNING          SESSION                                     1   may be brought against her, that defense will be assumed
 2                                                                         2   by the plaintiffs as well as their counsel Mr. Verner.
 3           (Out of the presence of the jury.                             3               Ms. Yitzhak is agreeing that she will agree to a
 4             THE COURT: All right. Let's go.                             4   liquidated damages penalty in the sum of $350,000, if a
 5             MR. VERNER: Your Honor, we've reached an accord             5   court of law finds that during the testimony in aid of her
 6    with the Yitzhak defendants. The parties would like to               6   defense of any future claim by the Kahlon parties, that
 7    put the settlement on the record now.                                7   she committed perjury --
 8             THE COURT: Go ahead.                                        8               THE COURT: Wait awhile. Say that again?
 9             MR. VERNER: The terms, are essentially we have              9               MR. SCHER: Ms. Yitzhak is agreeing if she was
10    an uncertain limit in the policy so we'll ask for CNA to            10   to get sued by the Kahlon defendants in a litigation which
11    provide a declaration with an itemization, rough, not               11   will be defended by Mr. Verner and his firm, if she were
12    detailed, with their expenses out of the policy. The --             12   to be found by any court of law to have committed perjury,
13    I'll let Mr. Scher talk about the numbers.                          13   she would agree to the liquidated damages provision of
14             THE COURT: Thank you. Who do you represent?                14   $350,000, if found she committed perjury during defense of
15             MR. SCHER: Bret Scher from Kaufman Dolowich &              15   that legal malpractice or whatever it may be.
16    Voluck on behalf of the Yitzhak defendants.                         16               Ms. Yitzhak also agreed she will not assert the
17             MR. BOTTON: Your Honor, may I say one thing.               17   attorney-client privilege with respect to her
18    There's been an offer with regards to a global settlement.          18   communications with Mr. Kahlon in the defense of that
19             We're willing to walk away from the case to have           19   action.
20    a global settlement and walk away today, however,                   20               THE COURT: She will not?
21    Mr. Verner was previously was open to that and at this              21               MR. SCHER: Will not assert the attorney-client
22    point is rejecting that with regards to the global                  22   privilege with respect to --
23    settlement and walk away.                                           23               THE COURT: There's only one trouble with that.
24             THE COURT: Doesn't he have a right to object to            24   If he brings the lawsuit, he waives it.
25    it?                                                                 25               MR. VERNER: As a matter of law it would be
                                                              Page 904 to 907 of 960                                                 2 of 27 sheets
      Case 2:24-cv-03552-RER-SIL                        DocumentA610
                                                                 28-4 Filed 10/28/24                            Page 30 of 131 PageID
                                                                #: 514
                                                               908                                                                       910
  1    waived. That's our understanding.                                      1   problem with the settlement.
  2               MR. SCHER: Both counsel understand that.                    2               MR. BOTTON: The UCC expires after a certain
  3    Mr. Verner asked me to make that clear she would not come              3   period of time.
  4    out and assert that and she will not.                                  4               MR. VERNER: I don't know. We'll have to figure
  5               A representative of CNA within the next 30 days             5   that out.
  6    will provide Mr. Verner with an affidavit --                           6               THE COURT: I'll tell the jury that the
  7               MR. VERNER: If I can have the declaration                   7   defendant settled -- I cannot say that. It's just between
  8    within the next ten business days, the settlement will                 8   the remaining defendant and plaintiff and we'll proceed.
  9    process within 30 days, I would think.                                 9               MR. VERNER: Thank you.
 10               MR. SCHER: Within the next 10 business days, a             10               MR. BOTTON: When we spoke about the progression
 11    representative of CNA will have a declaration to Mr.                  11   of the trial yesterday with regard to co-counsel and we
 12    Verner pursuant to Title 18 U.S.C. 1746, attesting to the             12   spoke to your clerk, we were anticipating coming back
 13    amounts that have been depleted from the CNA policy,                  13   Monday to do the closing. I haven't prepared closings at
 14    including expenses, attorney's fees, etcetera.                        14   this point because of the anticipation of a short day. I
 15               MR. VERNER: Your Honor, I think it would be                15   wanted to make sure we have time to do that.
 16    prudent to have both parties attest to their satisfaction             16               THE COURT: I'll give you enough time.
 17    of the settlement --                                                  17               MR. BOTTON: Thank you, your Honor.
 18               THE COURT: Which parties?                                  18               THE COURT: To prepare for the closing. Okay.
 19               MR. VERNER: Both. Both plaintiffs and                      19               We'll bring in the jury and tell them. So is
 20    Ms. Yitzhak.                                                          20   there any more testimony?
 21               THE COURT: You heard what was said by the                  21               MR. VERNER: Not from Ms. Yitzhak. I had some
 22    lawyers?                                                              22   rebuttal about a half hour with Mr. Lambe, and that's it.
 23               MS. YITZHAK: Yes, your Honor.                              23               THE COURT: All right.
 24               THE COURT: You agree with it?                              24               MR. DESANTIS: Can we excuse ourselves now since
 25               MS. YITZHAK: Yes, I do, your Honor.                        25   we're out, your Honor?
                                                               909                                                                       911
  1               THE COURT: And you abide by it?                             1               THE COURT: You can be excused but I want the
  2               MS. YITZHAK: Yes, your Honor.                               2   defendant to remain during the rest of the trial.
  3               MR. SCHER: And there is this issue with respect             3               MR. YITZHAK: Your Honor, would that require me
  4    to the defense claim under state law, and there may not be             4   to be present next week as well?
  5    any additional coverage available under her policy.                    5               THE COURT: It will require you not to be here.
  6               THE COURT: Okay. Now to the defendant                       6   You don't have to be present today, but I want you to be
  7    remaining.                                                             7   here on Monday because I want to put something on the
  8               What do you want to put on the record?                      8   record with respect to your conduct. I'm not happy with
  9               MR. BOTTON: Your Honor, at this point, I mean,              9   it.
 10   there was a willingness to engage in a global settlement               10               I've read your file witness.
 11    with regards to all parties.                                          11               MS. YITZHAK: Your Honor, I understand that.
 12               THE COURT: There was a willingness right from              12   Monday afternoon I have a mandatory settlement in New York
 13    day one and your client refused. They have a right to                 13   Supreme.
 14    back out again because he hasn't accepted it. He can't                14               THE COURT: I don't give a damn what you have.
 15    play games and then at the last minute and say, okay, I'll            15               You will be here Monday morning at 9:30.
 16   take it now. It's withdrawn.                                           16               MS. YITZHAK: Yes, your Honor.
 17               There is nothing for him to go through but to go           17               MR. VERNER: Your Honor, both CNA's counsel and
 18   through the trial.                                                     18   myself were wondering whether we can have a conference
 19               MR. BOTTON: Yes, your Honor.                               19   with you in chambers before we proceed for two minutes?
 20               MR. VERNER: For the record, your Honor,                    20               THE COURT: Sure.
 21    Mr. Lambe has just raised his concern he wanted the still             21               MR. VERNER: Thank you, your Honor.
 22    existing UCC-ls extinguished by one of the filings. I                 22               (Recess taken.)
 23    explained to him Ms. Yitzhak cannot do that without the               23               (Discussion held off the record in chambers.)
 24    authority of her client, former client, Mr. Kahlon. We'll             24           (Continued.)
 25    look for that relief in the future. That was the only                 25
3 of 27 sheets                                                   Page 908 to 911 of 960
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                                                                    A611 Filed 10/28/24                          Page 31 of 131 PageID
                                                                  #: 515
                                                                    912                                   Rebuttal - LambNerner
 1                 (Whereupon, the jury at this time enters the                                                                                   914
 2    courtroom.)                                                                 1   Q    When the business went out of business after the

 3                 THE COURT: Be seated. The delay in the                         2   letters that were sent to the three financiers NJR, Clean

 4    proceeding occurred. You'll notice that the defendant                       3   Power and NRG, were you able to take advantage of this

 5    attorney Yitzhak is not here with her lawyers. They are                     4   agreement with this company?

 6    gone. They are not part of the case anymore. You may not                    5   A    No, sir, I was not.

 7    consider why, when or how they are not. The case is
                                                                                  6   Q    And explain the sequence of events which resulted in
                                                                                  7   you not being able to take advantage of this company's
 8    continuing against the plaintiff and Mr. Kahlon and his
                                                                                  8   offer?
 9    corporation. So we're continuing just with that aspect.
                                                                                  9   A    Well, clearly losing my financial companies and my
10                 The other aspect, forget about. It's all over.
                                                                                 10   ability to install my medium residential and small
11                 The testimony that came in is part of the case.
                                                                                 11   commercial contracts restricted my ability to bring in
12    It is just that she as a defendant is no longer in the
                                                                                 12   revenue with my company so I could continue on. These
13    case and you may not consider why, when or how.
                                                                                 13   particular type of projects take two to three years to
14                 Does anyone have another witness to call?
                                                                                 14   develop and install.
15                 MR. VERNER: Your Honor, the plaintiff wanted to
                                                                                 15               There is some continuing paperwork in there. I
16    call Mr. Lambe in rebuttal, but I'm assuming that the
                                                                                 16   believe you will find, sir, that it is one project in
17    defense rested?
                                                                                 17   specific where all the engineering, the environmental
18                 THE COURT: Defense rests?
                                                                                 18   impact studies were done.
19                 MR. BOTTON: We have rested, but we'll obviously               19               MR. VERNER: We'll get to that, Mr. Lambe. I'm
20    cross if he brings him up.                                                 20   trying to keep it short and sweet.
21                 MR. VERNER: I'm sorry. What did you say? I                    21               THE WITNESS: I apologize.
22    didn't hear you.                                                           22               MR. VERNER: Pay particular attention, please.
23                 MR. BOTTON: We'll obviously cross if he takes                 23   Q    Explain to the jury when you lost the three financing
24    the stand.                                                                 24   contracts, economically, financially, how did that impact
25                 MR. VERNER: Of course.                                       25    this piece of business?
                           Rebuttal - LambNemer                                                           Rebuttal - LambNemer
                                                                    913                                                                           915
 1                 THE COURT: You are still under oath.                           1   A    Simply put and shortly put, I had no more revenue
 2                 MR. LAMBE: Yes, your Honor.                                    2   coming into the company so I could not sustain the company
 3                 THE COURT: You don't have to be re-sworn.                      3   to get there.
 4    TROY LAMBE,                                                                 4   Q    Okay. Now look at the next page, sir. First of all,
 5         having been previously sworn, resumed the stand                        5   on the top there is a whole bunch of numbers. Quickly
 6        and testified further as follows.                                       6   tell us what those mean?
 7    REBUTTAL EXAMINATION                                                        7   A    Sure. Those are the individual projects that Verde
 8    BY MR. VERNER:                                                              8   agreed to give Sunray Solar the installation work.
 9    Q    I will show you what is Bate stamped Lambe 04869,                      9   Q    3.5 megs, 10 megs. What does that mean?
10    it's down there on the bottom right-hand corner. I think                  10    A    They equal 67 million watts, and the rate would have
11    it's all in there. Do you recognize that document, sir?                   11    been $1 for the labor.
12    A    Yes, I do.                                                           12    Q    1.40 for the labor?
13    Q    Could you tell the jury what it is?                                  13    A    Yes.
14    A    That's an e-mail from one of the utilities, Scale                    14    Q    Do you have a markup on materials?
15    Development company, and it's an e-mail to my salesman at                 15    A    In this particular set of circumstances like NJR, I
16    Sunray, Mr. Esposito, saying Mike, let's me know what you                 16    would not be responsible for materials.
17    think, here are some other projects that we agreed to give                17    Q    No, correct?
18    to Seth, Seth's group.                                                    18    A    No, correct.
19    Q    Please explain who Seth's group is?                                  19    Q    So the megawattage, explain again, I don't know if we
20    A    Seth's group is Sunray, and Seth was an employee of                  20    ever did this, what is the average New Jersey household
21    Sunray.                                                                   21    system size?
22    Q    What kind of employee was he?                                        22    A    Typically the average residential size is somewhere
23    A    He was a utility salesman.                                           23    between nine and ten kilowatts, not because that is what a
24    Q    A salesman, so he closed the deal?                                   24    residence uses. Typically that's the size the average
25    A    That's correct.                                                        25 home would allow square footage-wise on a rooftop.
                                                                      Page 912 to 915 of 960                                         4 of 27 sheets
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                                   SETTLEMENT AGREEMENT

           T HI S Settlement Agreement made as of the 25 th day of February 2016 (hereinafter the

  '·Settlement Agreement'") by and between TROY LAMBE, SUNRAY SOLAR INC., and MAX

   DIVERSIFI ED, INC. , (collectively referred to herein as "LAMBE"), their predecessors and

  successors in interest, parents, subsidiaries, affiliates, directors, officers, shareholders, partners,

  associates, members, agents, contractors, servants, employees, attorneys, ins urers, heirs, assigns,

  on the one hand, and, ERICA T. YITZ HAK, THE LAW OFFI CES OF ERICA T. YITZHAK,

  and ERICA T. YITZHAK, ESQ. P.C. (hereinafter co llectively referred to as " YITZHAK

   DEFENDANTS'"), the ir predecessors and successors in interest, law firm s, parents, subsidiaries,

  affiliates, directors, officers, shareholders, partners, associates, members, agents, contractors,

  servants, employees, attorneys, insurers, heirs and assigns, on the other hand. LAMBE and the

   YITZHAK DEFEN DANTS are collectively referred to as "the Parties'· and individually as a

  " Party" for purposes of this Settlement Agreement.

                                          WIT NESSETH

           WH EREAS, LAMBE commenced an action against YITZHAK DEFENDANTS and

   YOSS EF KAHLON a/k/a JOSSEF KAHLON, and ATLAS SOLAR HOLDINGS LLC, entitled

  Troy Lambe. et. al., v. Yossef Kah Ion. et. al., case number I 3-cv-03 I 26 in the United States

   District Court for the Eastern District o f New York (hereinafter "the Action") alleging, inter alia,

  claims of tortious interference, defamation, malicious use/abuse o f process, violation of Judiciary

   Law 487, malpractice, negligence, breach of contract, una uthorized UCC tilings and primary

   facie tort;

           WH EREAS, the YITZHAK DEFENDANTS interposed an Answer in the Action denying

   all allegations of wrongdoing set forth in the Complaint tiled in the Action;




                                              Page 1 of 11
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           WHEREAS, all of the Parties to this Settlement Agreement believe that it is in their

   interests to resolve all of the claims asserted in the Action, without an admission or adjudication

   of any issue of fact or law, thereby eliminating the need to incur any further litigation expenses;

           WHEREAS, the Parties herein agree, in complete resolution of all claims asserted in the

   Action as well as any other claims, past, present and future, and in consideration of the covenants

   promised by virtue of this Settlement Agreement and for other good and valuable consideration

   as set forth herein below, the Parties hereto agree as follows:

                                  PAYMENT AND OTHER TERMS

          In complete resolution of any and all claims between the Parties; payment shall be made

   by the YITZHAK DEFENDANTS and/or their professional liabi lity insurer(s) in the amount of

   Six Hundred Eight Thousand Two Hundred Seventy Four Dollars and No Cents ($608,274.87)

   (hereinafter the " Settlement Funds"), within twenty-one (21) days of execution of this Settlement

   Agreement by all Parties and Verner Simon provid ing a duly executed W-9, as follows:

          (a) A check in the amount of Five Hundred Ninety Five Thousand Two Hundred Seventy

   Four Dollars and Eighty Seven Cents ($595,274.87) payable to: " Verner Simon, Inc. f/b/o

   Sunray Solar, Inc., As Attorneys For Sunray Solar, Inc." and shall be delivered by Federal

   Express overnight delivery to Paul W. Verner, Verner Simon, Inc., 30 Wall Street, 8th Floor, NY,

   NY l0005 with a Tracking Number provided to Mr. Verner upon sending.

          (b) A check in the amount of T hirteen Thousand Dollars and Zero Cents ($13,000.00)

   payable to " Bouklas Gaylord LLP" which c heck sha ll be delivered to that firm at 400 Jericho

   T urnpike, Su ite 226, Jericho, NY 11753, in satisfaction of an attorneys' lien filed in the Action,

   which lien sha ll thereby be extinguished by the payment said sum by the YITZHAK




                                              Page 2 of 11
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  DEFENDANTS in accordance with the Attorneys' Lien Settlemnt Agreement attached hereto as

  Addendum A.

                                  DISCONTINUANCE AND RELEASE

          ln consideration of the payment and other consideration detailed in the prior section,

  LAMBE hereby releases and discharges the YITZHAK DEFEN DANTS as well as their past and

  present partners, associates, principals, shareholders, directors, officers, members, attorneys,

  employees, agents, representatives, parents, subsidiaries, affi liates, divisions, predecessors or

  successors, partnerships or corporations, heirs, executors, administrators, successors, assigns and

  insurers from all claims asserted, or which could have been asserted, against the YITZHAK

  DEFENDANTS in the Action, as well as any and all claims LAMBE may have, or might have,

  against the YITZHAK DEFENDANTS, their past and present partners, associates, principals,

  shareholders,      directors,   officers,   law    firms,        members,      attorneys,   employees, agents,

  representatives,     parents,   subsidiaries,     affiliates,     divisions,     predecessors   or successors,

  partnerships or corporations, heirs, executors, administrators, successors, assigns and insurers,

  existing up until and including the execution of this Settlement Agreement.

          In consideration of the mutual agreements, covenants, conditions, representations and

  warranties set forth herein, and other consideration detailed in the prior section, the YITZHAK

  DEFENDANTS, on behalf of themselves as well as their past and present partners, associates,

   principals,    shareholders,    directors,     officers,    members,       attorneys,      employees,   agents,

  representatives,     parents,   subsidiaries,     affi liates,    divisions,     predecessors   or   successors,

   partnerships or corporations, heirs, executors, administrators, successors, assigns and insurers

  hereby release and discharge LAMBE from all claims asserted, or which could have been

  asserted, against LAMBE in the Action, as well as any and all claims the YITZHAK




                                                    Page 3 of 11
Case 2:24-cv-03552-RER-SIL             Document 28-4 Filed 10/28/24                Page 35 of 131 PageID
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   DEFENDANTS, their past and present partners, associates, principals, shareholders, directors,

   officers, law firms, members, attorneys, employees, agents, representatives, parents, subsidiaries,

   affiliates, divisio ns, predecessors or successors, partnerships or corporations, he irs, executors,

   administrators, s uccessors, assigns and insurers, may have, or might have, against LAM BE,

   ex isting up until and including the execution of this Settlement Agreement.

                                   NO ADMISSION OF LIABILITY

           It is hereby understood and agreed that this Settlement Agreement is the comprom ise of

  disputed c laims and is not to be construed or interpreted in any way as an admission of liabi lity

  on the part of any of the Parties, their predecessors and successors in interest, subsidiaries, parent

  corporations, affi liates, d irectors, officers, shareholders, partners, associates, members, agents,

  contractors, servants, employees, attorneys, insurers, he irs and assigns, such liability and/or

   responsibility being expressly denied.

                                          CONFIDENTIALITY

          At the Parties' mutual request, the Parties hereto represent, warrant and covenant that the

  terms of this Settlement Agreement are strictly confidential. This Settlement Agreement shall

   not be fil ed with a ny Court, except for the purposes of enforcement thereof. In the event that any

   Party or their respective attorneys receive an inqu iry concerning the status or disposition of the

   Action, the response will be "a ll claims between the Parties have been resolved to the mutual

   satisfaction of the Parties." The nature and terms of this Settlement Agreement sha ll not be

  disclosed in said response. T he Parties agree that they may reveal the terms of the settlement to

   the ir respective attorneys, insurers, auditors, regulatory authorities, taxing a uthorities, financial

  adv isors or accountants (who sha ll agree to be bound by this confidentia lity provision), or as

   otherwise required by law or subpoena or as agreed to in writing between the parties.




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                                             #: 520




                         INDEMNIFICATION AND HOLD HARMLESS

          LAMBE agrees to indemnify, defend, and hold harmless the YITZHAK DEFENDANTS,

  their servants, agents, employees, attorneys, legal representatives, insurers, heirs and assigns

  against any claim/lawsuit, or loss, damage or expense resulting by virtue of such claim/lawsuit,

   brought against the YITZHAK DEFENDANTS by JOSSEF KAHLON, ATLAS SOLAR

   HOLDINGS LLC or any companies or entities affiliated with JOSSEF KAHLON or ATLAS

  SOLAR HOLDINGS LLC for legal malpractice, negligence, contribution, indemnification,

  subrogation or other type of claim/lawsuit arising from the attorney-client relationship between

  the YITZHAK DEFENDANTS and JOSSEF KAHLON, ATLAS SOLAR HOLDINGS LLC or

  any companies or entities affi liated with JOSSEF KAHLON or ATLAS SOLAR HOLDINGS

   LLC, which was the subject of the Action and the underlying injuries/damages suffered by

   LAMBE that ultimately gave rise to the claims in the Action.

          LAMBE agrees that in the event such claim/lawsuit is asserted against the YITZHAK

   DEFENDANTS by JOSSEF KAHLON and/or ATLAS SOLAR HOLDINGS LLC or any

  companies or entities affiliated with JOSSEF KAHLON or ATLAS SOLAR HOLDINGS LLC,

   LAMBE shall defend and indemnify the YITZHAK DEFENDANTS from any such

  claim/lawsuit on a concurrent basis, including all costs, expenses, and attorneys' fees attendant to

  the defense of such claims. LAMBE expressly agrees that the defense of any such claim against

  the YITZHAK DEFENDANTS shall be handled by LAMBE' s counsel, Paul Verner, Esq. and

  the law firm of Verner Simon. The YITZHAK DEFENDANTS agree to cooperate full y with

   LAMBE and Verner Simon in the defense of any such claim. The YITZHAK DEFENDANTS

  further warrant that in the event that a New York State or Federal Court renders an Order or




                                             Page 5 of 11
Case 2:24-cv-03552-RER-SIL         Document 28-4 Filed 10/28/24           Page 37 of 131 PageID
                                           #: 521




  Judgment determining that during the course of being defended and indemnified by LAMBE in

  accordance with the provisions of this paragraph the YITZHAK DEFENDANTS violated New

   York Penal Law §2 10.15 during any deposition or trial testimony, LAMBE shall be entitled to

  recover against the YITZHAK DEFENDANTS liquidated damages in the amount of Three

   Hundred Fifty Thousand Dollars and No Cents ($350,000.00).

         The YITZHAK DEFENDANTS warrant that they will keep and maintain their original

   litigation file during their representation of JOSSEF KAHLON and/or ATLAS SOLAR

   HOLDINGS LLC for a period of no less than seven (7) years from the date of this Settlement

  Agreement and that in the event a claim/lawsuit is asserted against the YITZHAK

  DEFEN DANTS by JOSSEF KAHLON and/or ATLAS SOLAR HOLDfNGS LLC, LAMBE, the

  YITZHAK DEFENDANTS shall deliver to Verner Simon said file , including all attorney-client

  communications as may be contained therein in aide of the defense of the YITZHAK

  DEFENDANTS. Maintenance of the litigation file as described above is a material term of this

  Agreement and of the duty of LAMBE to indemnify the YITZHAK DEFENDANTS.

                           ENTIRE AGREEMENT/MERGER CLAUSE

         This Settlement Agreement represents the entire understanding of the Parties and any

  previous communications, correspondence, memorialization of agreement and previous

  agreements are excluded from this Settlement Agreement and are not to be employed to construe

  this Settlement Agreement. This Settlement Agreement may only be modified in a writing

  subscribed by all Parties.




                                          Page 6 of 11
Case 2:24-cv-03552-RER-SIL           Document 28-4 Filed 10/28/24              Page 38 of 131 PageID
                                             #: 522




                                          SEVERABILITY

         If any provision of this Settlement Agreement is held by a court of competent jurisdiction

  to be illegal, void or unenforceable, such provi sion shall have no effect; however, the remaining

  provision shall be enforced to the maximum extent possible. Further, if a court should determine

  that any portion of this Settlement Agreement is overbroad or unreasonable, such prov ision shall

  be given effect to the maximum extent possible by narrowing or enfo rcing in part that aspect of

  the provision found overbroad or unreasonable.

                                        INTERPRETATION

         Should any provision of this Settlement Agreement require interpretation or construction,

  it is agreed by the Parties that the entity interpreting or constructing this Settlement Agreement

  shall not apply a presumption against one Party by reason of the rule of construction that a

  document is to be construed more strictly against the Party who prepared the documents. This

  Settl ement Agreement shall be construed and enforced in accordance with the laws of the State

  of New York without regard to the principles of conflicts of law.

                                     REVIEW BY COUNSEL

         All Parties to this Settlement Agreement (whether represented by counsel or not)

  acknowledge that they: (a) have carefully read this Settlement Agreement in its entirety; (b) have

  had an opportunity to consider the terms of this Settlement Agreement for a reasonable period of

  time; (c) have had the opportunity to consult with their respective attorneys prior to executing

  this Settlement Agreement; (d) fully understand the significance of all of the terms and

  conditions of this Settlement Agreement and have discussed them with their respective legal

  counsel, or have had a reasonable opportunity to do so and elected to waive the right to do so; (e)

  have had answered to their satisfaction by their respective legal counsel any questions they may




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Case 2:24-cv-03552-RER-SIL            Document 28-4 Filed 10/28/24          Page 39 of 131 PageID
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   have asked with regard to the meaning and significance of any of the provisions of Settlement

   Agreement; and (t) are signing this Settlement Agreement voluntarily and of their free will and

   agree to abide by all terms and conditions contained herein.

                                  COUNTERPARTS/FACSIMILE

          This Settlement Agreement may be executed in any number of counterparts, each of

   which shall be deemed an original, but all of wh ich together shall constitute one and the same

   instrument. The Agreement may be delivered to each Party and is enforceable as if signed in ink

   if signed and transmitted between the Parties in facsimi le form.




                          [INTENTIONALLY LEFT BLANK]




                                              Page 8 of 11
Case 2:24-cv-03552-RER-SIL            Document 28-4 Filed 10/28/24                          Page 40 of 131 PageID
                                              #: 524



               ---v<._°8
   STATE Of :Jl.lc\· JEl'tSEt    )
                                 ) ss.:
   COUNTYO~                      )

                                                            TROY LAMBE
                      -1'v\
           On the 1,,$ day of February 2016, before me TROY LAMBE personally appeared
   personally known to me or proved to me on the basis of satisfactory evidence to be the individual
   whose name is subscribed to the within instrument and acknowledged to me that he/she executed
   the same in his/her capacity, and that by his/her signature on the instrument, the individual, or
   the person upon behalf of which the individual acted, executed this instrument.

                                                                  ,-••t?.J~'irf.··•.   ABEL BARRAZA
                                                                 i.1·J.,.:~;i Notary Public. State of Texas
                                                                  ~ ~. 'K/..; Expires SEPTEMBER 17 2017
                                                       -----~".-:•~•
                                                              •••,.~....;:a,t'
                                                                          ••'.•·      D
                                                                                    I.. # 129562837


   STATE OF                     )
                                          ss.:
  COUNTY OF'"}WN~-              j
                                                   SUNRAY SOLAR, TNC.




        On~ay of February 20 1 ~0~ \.c,Jv\be,.appeared before me personally came to
  me known, who, by me duly sworn, didepose and say that deponent is the C)UJVI e , of
  SUNRAY SOLAR, TNC. and which executed the foregoing Settlement Agreement, and that
  deponent signed deponent's name by like order.




                                                 Page 9 of 11
Case 2:24-cv-03552-RER-SIL           Document 28-4 Filed 10/28/24                     Page 41 of 131 PageID
                                             #: 525



             ~ (eO(~ ~
   STATEOF~)

             oi:[Zo_v l ) ~
                                         ss.:
   COUNTY
                                                   MAX DfVERSIFIED, INC.




                                                   By~ A ~
               t"lday of February 20 16,- \ '{()~ I
        On·? J:i.                                 l~- ~ppeared before me personally came to
  me known, who, by me duly sworn, did d pose a nd say that deponent is the (9\)l/ll)1::< o f
  MAX DIV ERSIFIED, INC. and which executed the foregoing Settlement Agreement, and that
  deponent signed deponent's name by like order.
                                                          Ar;~t.\          ABEL BARRAZA
                                                          (•j .xJ~I Notary Public, Stitt of Texas
                                                           ~liw~~~ E)(()lres SEPTEMBER 17 2017
                                                         - - ••.,.....     , .o . • 129562837




   STATE OF NEW YORK            )
                                ) ss.:
  COUNTY OF__ _                 )


                                                          ERICA T. YITZHAK

          On the _ _ day of February 20 I 6, before me ERJCA T. YITZHAK, personally appeared
  personally known to me or proved to me on the basis of satisfactory evidence to be the individual
  whose name is subscribed to the within instrument and acknowledged to me that he/she executed
  the same in his/her capacity, and that by his/her signature on the instrument, the individua l, or
  the person upon behalf of whi ch the individual acted, executed this instrument.




         NOTARY PUBLIC




                                                Page 10 of 11
Feb 29 2016 09:03AM Erica T Yitzhak Esq 5164667145                                page 1
         Case 2:24-cv-03552-RER-SIL                   Document 28-4 Filed 10/28/24                Page 42 of 131 PageID
                                                              #: 526




                           ( e"<.'.~ S.
              STA TE O F ~                   )

                        OF (io..v.U i
                                                        ss.:
              COUNTY
                                                                  MAX DIVERSIFIED. INC.




                                                                  By:          LAMBE, President
                           t-1.
                     On'lJj_ day of February 20 I61fc)t           w»1 b ppeared before me personally came to
                                                                  •
              me known, who, by me duly sworn, did d pose and say that deponent is the C)uv11e i-- of
              MAX DIVERSIFIED, INC. and which executed the foregoing Settlement Agreement, and that
              deponent signed deponent's name by like order.




              STATE OF NEW YORK              )
                                             ) ss.:
              COUNTY OF      H, t..':,',4v   )


                                                                                  :v'JTzHAK
                      On the 2JL day of February 2016. before me ERICA T. YITZHAK. personally appeared
              personally known to me or proved to me on the basis of satisfactory evidence to be the individual
              whose name is subscribed to the within instrument and acknowledged to me that he/she executed
              the same in his/her capacity, and that by his/her signature on the instrument, the individual, or
              the person upon behalf of which the individual acted, executed this instrument.

                                                                                       GIULIA PALERMO
                                                                                   Notmy Publi~, StatO ofN,w York
                                                                                         No, 02PA6288892
                                                                                •   Certified in R.ooklll!d~
                                                                                Commis.siOll Expire$ 9      1
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                                                               Page 10 of 11
Feb 29 2016 09:03AM Erica T Yitzhak Esq 5164667145                         page 2
         Case 2:24-cv-03552-RER-SIL           Document 28-4 Filed 10/28/24                   Page 43 of 131 PageID
                                                      #: 527




             STATEOFNEWYORK               )
                                          )      ss.:
             COUNTY OF t-,\CA";,'.)a',)   )
                                                           THE LAW OFFICES OF ERICA T. YITZHAK




                   On.ai_ day of February 20 I 6, f;v\l..A~ MtiiPpeared before me personally came to
             me known, who, by me duly sworn. did dep • and say that deponent is the C/\JI 1/\4>/ of
             THE LAW OFFICES OF ERICA T. YITZHAK and which executed the foregoing Settlement
             Agreement, and that deponent signed deponent' s name by like order.



                                                                                6IULIA PALERMO
                                                                           Notary Publi~, State of Now York
                                                                                  No. 02PA628S892
                     NOTARY.P((euc                                          Certified in Rocklarid  );¢try
                                                                        Commission Expiles 7; e, ,            z

             STA TE OF NEW YORK           )
                                          )      ss.:
             COUNTY OF l,,l¢.$';,O,.M,    )
                                                          ERICA T. YITZHAK, ESQ. P.C.




                    On .;!B_ day of February 20 I6t.ll\Cta~\i.11:JL appeared before me personally came to
             me known, who, by me duly sworn, did d se and say that deponent is the QW•D¢-V:: of
             ERICA T. YITZHAK, ESQ. P.C. and which executed the foregoing Settlement Agreement,
             and that deponent signed deponent's name by like order.

                                                                                GIULIA PALERMO
                                                                           Notary Public, State of New York
                                                                                   No. 02PA628~892
                     NOTARY P. BLIC                                          Certified in Rockland;;oztry
                                                                        Commission Expires     "It       1z
                                                                                                I    I

             4813-91)7-6430., I




                                                        Page 11 of 11
Case 2:24-cv-03552-RER-SIL   Document 28-4 Filed 10/28/24   Page 44 of 131 PageID
                                     #: 528
Case 2:24-cv-03552-RER-SIL   Document 28-4 Filed 10/28/24   Page 45 of 131 PageID
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                                     #: 532
Case 2:24-cv-03552-RER-SIL   Document 28-4 Filed 10/28/24   Page 49 of 131 PageID
                                     #: 533
Case 2:24-cv-03552-RER-SIL   Document 28-4 Filed 10/28/24   Page 50 of 131 PageID
                                     #: 534
FILED: NEW YORK COUNTY CLERK 11/14/2022 07:49 PM                                                       INDEX NO. 159790/2022
        CaseNO.
NYSCEF DOC.  2:24-cv-03552-RER-SIL
                1                                Document 28-4 Filed 10/28/24              Page 51 of 131
                                                                                            RECEIVED      PageID
                                                                                                       NYSCEF: 11/14/2022
                                                         #: 535



         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK                                                           Date Purchased
         -------------------------------------------------------------------------X
         TROY LAMBE,                                                    ,             Index No.

                                            Plaintiff,                         SUMMONS WITH NOTICE
                          -against-
                                                                                      PLAINTIFF DESIGNATES
         PAUL WILLIAM VERNER, VERNER and SIMON,                                       New York County as the
         VERNER and SIMON, P.C., VERNER and SIMON,                                    Place of Trial
         LLP,
                                                                                      The basis of venue
                                                                                      is CPLR ' 503 and 509
                                             Defendants.
         -------------------------------------------------------------------------X   County of New York

         TO THE ABOVE-NAMED DEFENDANTS:


                  YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve

         a copy of your answer, or if the complaint is not served with this summons, to serve a notice of

         appearance, on the Plaintiff's Attorney within 20 days after the service of the summons,

         exclusive of the day of service (or within 30 days after service is complete if this summons is not

         personally delivered to you within the State of New York); and in case of your failure to appear

         or answer, judgment will be taken against you by default for the relief demanded herein.

         Dated:           New York, New York
                          November 14, 2022
                                                                               ____________________________
                                                                               Andrew Lavoott Bluestone
                                                                               80 Chambers Street 8th Floor
                                                                               New York, New York 10007
                                                                               (212) 791-5600
                                                                               alb@bluestonelawfirm.com

         NOTICE: The relief sought is money damages in Legal Malpractice, Breach of Fiduciary Duty
         and Breach of Contract. Upon your failure to appear, judgment will be taken against you
         by default for a sum of $ Two Million (Two Million Dollars) and in excess of the
         jurisdiction of all lower courts, with interest and the costs of this action.




                                                              1 of 1
FILED: NEW YORK COUNTY CLERK 11/14/2022 07:43 PM                                                       INDEX NO. 159789/2022
        CaseNO.
NYSCEF DOC.  2:24-cv-03552-RER-SIL
                1                                Document 28-4 Filed 10/28/24              Page 52 of 131
                                                                                            RECEIVED      PageID
                                                                                                       NYSCEF: 11/14/2022
                                                         #: 536



         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK                                                           Date Purchased
         -------------------------------------------------------------------------X
         ERICA T. YITZHAK, THE LAW OFFICES OF ERICA
         T. YITZHAK and ERICA T. YITZHAK, Esq. P.C., ,                                Index No.

                                            Plaintiff,                         SUMMONS WITH NOTICE
                          -against-
                                                                                      PLAINTIFF DESIGNATES
         PAUL WILLIAM VERNER, VERNER and SIMON,                                       New York County as the
         VERNER and SIMON, P.C., VERNER and SIMON,                                    Place of Trial
         LLP,
                                                                                      The basis of venue
                                                                                      is CPLR ' 503 and 509
                                             Defendants.
         -------------------------------------------------------------------------X   County of New York

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         delivered to you within the State of New York); and in case of your failure to appear or answer,

         judgment will be taken against you by default for the relief demanded herein.

         Dated: New York, New York
                     November 14, 2022
                                                                               ____________________________
                                                                               Andrew Lavoott Bluestone
                                                                               80 Chambers Street 8th Floor
                                                                               New York, New York 10007
                                                                               (212) 791-5600
                                                                               alb@bluestonelawfirm.com

         NOTICE: The relief sought is money damages in Legal Malpractice, Breach of Fiduciary Duty and
         Breach of Contract. Upon your failure to appear, judgment will be taken against you by default
         for a sum of $ Two Million (Two Million Dollars) and in excess of the jurisdiction of all lower
         courts, with interest and the costs of this action.




                                                              1 of 1
                     Case 2:24-cv-03552-RER-SIL     Document 28-4 Filed 10/28/24   Page 53 of 131 PageID
                                                            #: 537
CLIENTS TRUST LEDGER
CLIENT NAME:___LAMBE__ FILE NO.: _____982.010__ MATTER: _LAMBE v KAHLON__


DATE        TRANSACTION                   CHECK NO./WIRE ID.        PAID                 RECEIVED          BALANCE
            Settlement Funds              104590649 CNA                                  $595,274.87       $595,274.87
2016-3-11
            Client Funds                  0004638081844055 WIRE     $320,250.00                            275,024.87
2016-3-21
            Fees                          Verner Simon                                   $215,000          $60,000
2016-3-21                                                                                                  (Move to IOLTA)
            Escrow                                                                                         $60,000
2016-3-21
2018-5-7    Settlement (Surety Bond)      SureTec Ins. Co.                               1,009,000.00      1,069,000.00
Case 2:24-cv-03552-RER-SIL                    Document 28-4 Filed 10/28/24              Page 54 of 131 PageID
                                                      #: 538

   From:              Troy Lambe
   To:                Paul Verner
   Subject:           Re: Delay
   Date:              Thursday, March 10, 2016 8:47:36 PM


  No worries Paul, have a safe trip brother. Thanks for the update.

  On Thu, Mar 10, 2016 at 2:47 PM, Paul Verner <pwverner@vernerlaw.com> wrote:

       I should be able to deposit the check today though unless I get delayed past 6 pm



       Paul W. Verner ■ Verner Simon



       30 Wall Street, 8th Floor

       New York, NY 10005 ■ Tel: (212) 502-5500 ■ Fax: (212) 502-5400

       _______________________________________________________________________________



       Five Greentree Centre ■ 525 Route 73 North, Suite 104

       Marlton, NJ 08053 ■ Tel: (856) 817-6315 ■ Fax: (856) 817-6017

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       _______________________________________________________________________________




  --


  Troy Lambe
  360 Energy Solutions Inc
  www.360energy.us
Case 2:24-cv-03552-RER-SIL                                 Document 28-4 Filed 10/28/24   Page 55 of 131 PageID
                                                                   #: 539

  Cell 732 833 3481
  Office 844 360 3601



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  . P Please don't print this e-mail unless you really need to.
Case 2:24-cv-03552-RER-SIL             Document 28-4 Filed 10/28/24          Page 56 of 131 PageID
                                               #: 540

   From:          Troy Lambe
   To:            Paul Verner
   Subject:       .....
   Date:          Wednesday, March 16, 2016 2:04:12 PM
   Attachments:   JanetTD.txt


  Paul, here is Janet's account information attached

  Please try to get the billing done so we can discuss and finalize this portion of the case and
  move the funds as we agree to.

  Thanks for the heads up on $$ clearing brother.
  Best,

  Tyler lands at 9 PM tonight :)
Case 2:24-cv-03552-RER-SIL                    Document 28-4 Filed 10/28/24              Page 57 of 131 PageID
                                                      #: 541

   From:              Troy Lambe
   To:                Paul Verner
   Subject:           Re: Delay
   Date:              Thursday, March 10, 2016 8:47:36 PM


  No worries Paul, have a safe trip brother. Thanks for the update.

  On Thu, Mar 10, 2016 at 2:47 PM, Paul Verner <pwverner@vernerlaw.com> wrote:

       I should be able to deposit the check today though unless I get delayed past 6 pm



       Paul W. Verner ■ Verner Simon



       30 Wall Street, 8th Floor

       New York, NY 10005 ■ Tel: (212) 502-5500 ■ Fax: (212) 502-5400

       _______________________________________________________________________________



       Five Greentree Centre ■ 525 Route 73 North, Suite 104

       Marlton, NJ 08053 ■ Tel: (856) 817-6315 ■ Fax: (856) 817-6017

       _______________________________________________________________________________
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       electronic copies of the message and attachments, destroy any hard copies that you may have created, and
       notify us immediately.

       _______________________________________________________________________________




  --


  Troy Lambe
  360 Energy Solutions Inc
  www.360energy.us
Case 2:24-cv-03552-RER-SIL                                 Document 28-4 Filed 10/28/24   Page 58 of 131 PageID
                                                                   #: 542

  Cell 732 833 3481
  Office 844 360 3601



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                                                      #: 543

   From:              Troy Lambe
   To:                Paul Verner
   Subject:           Re: Delay
   Date:              Thursday, March 10, 2016 8:47:36 PM


  No worries Paul, have a safe trip brother. Thanks for the update.

  On Thu, Mar 10, 2016 at 2:47 PM, Paul Verner <pwverner@vernerlaw.com> wrote:

       I should be able to deposit the check today though unless I get delayed past 6 pm



       Paul W. Verner ■ Verner Simon



       30 Wall Street, 8th Floor

       New York, NY 10005 ■ Tel: (212) 502-5500 ■ Fax: (212) 502-5400

       _______________________________________________________________________________



       Five Greentree Centre ■ 525 Route 73 North, Suite 104

       Marlton, NJ 08053 ■ Tel: (856) 817-6315 ■ Fax: (856) 817-6017

       _______________________________________________________________________________
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  Troy Lambe
  360 Energy Solutions Inc
  www.360energy.us
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                                                                   #: 544

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CASE                                 BILL        BILL         2018-5-6        CREDITS/           BALANCES
                                                 DATE         PAYMENTS        ESCROW
MAIN ACTION 982.010                  $336,333.00 2018-5-6     ($336,333.00)   00                 00
MAIN ACTION APPEAL                   $40,000.00 2018-5-6      ($40,000.00)    00                 00
SHOTGUN 982.010D                     $35,962.00 2019-5-10     ($20,000.00)    1/3 ($11,987.33)   $ 3974.67
                                                                              ***
SHOTGUN LOCAL COUNEL                 $15,962.02   2019-5-10   ($10,750.00)    1/3 5320.67***     ($ 108.65)
982.010D
YITZHAK 982.010C                     $95,985.66   2020-1-5    ($14,500.00)    ($50,000.00)       $31,485.66
BASSIE 982.010GGG                    $22,435.00   2020-1-21   ($14,000.00)                       $ 8435.00
VACCA 982.010G                       $ 3325.00    2020-1-21   ($ 3300.00)                        $ 3325.00
NJ DEFAMATION 982.010E               $32,870.00   2020-1-24                   ($15,000.00)       $17,870.00
SOVEREIGN          BANK              $14,314.50   2020-1-24   ($10,000,00)                       $ 4,314.50
982.010GG
AMEX 982.010GGGG                     $ 945.00     2020-1-24   00              00                 $ 945.00
LANDLORD 982.010I                    $ 4760.00    2020-1-24   ($ 3000.00)     00                 $ 1760.00
CORPORATE MURDER                     $0                                                          $0
982.010H
GUN PERMIT 982.010J     $0                                                                       $0
ISO/ FLA JV AGREEMENT   $0                                                                       $0
REVIEW
 982.010K
TJ        MANAGEMENT/ED                                                       ($ 5000.00)
GURIN* 982.010L
BOTTON/QUINN
NEGLIGENCE** 982.010M

PERSONAL LOAN                                                                 ($15,000.00)
*Not started, (see Kahlon Depo
taking responsibility for Ed) can
be structured as an indemnity suit
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for attorneys’ fees and damages at
end of Yitzhak
** Not filed – per PV report, not
a beneficial action but to be used
as defense
*** Yitzhak’s portion
                                                                                             $ 72,001.18
TOTALS                               $226,559.18             ($ 75,550.00)   ($102,308.00)   $ 48,701.18
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   From:            Paul W. Verner
   To:              Troy Lambe
   Subject:         Fees
   Date:            Tuesday, May 15, 2018 3:10:00 AM
   Attachments:     MEMO FINAL BILLING w $50k.docx



  This Memo has a corrected Table. I forgot to add a reserve for the Yitzhak
  defense.
  -------------------------------

  Here is a memo for your review.

  I’ll send the draft bills after I print them tomorrow morning.

  Paul W. Verner ■ Verner Simon
  ____________________________________________________________
  30 Wall Street, 8th Floor ■ New York, NY 10005
  Tel: (212) 502-5500 ■ Fax: (212) 502-5400
  ____________________________________________________________

  Five Greentree Centre ■ 525 Rt. 73 North, Suite 104 ■ Marlton, NJ 08053
  Tel: (856) 817-6315 ■ Fax: (856) 817-6017
  ____________________________________________________________
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 MEMO
 TROY & JANET LAMBE
 RE: FINAL BILLING AFTER KAHLON BOND COLLECTION
 DATE: MAY 1, 2018



 Background:
        1. The Retainer Agreement of March 26, 2014 (attached) at $400 per hour, was
           converted April 20, 2015 (attached) to $200 per hour plus 17% of net recovery (net
           recovery = gross recovery less costs incurred).

        2. Gross recovery of $595,274.87 from Yitzhak resulted in a pwayment to Verner of $215,000
           (reimbursed expenses were included in this sum) and a payment of $320,250.00 to the
           clients leaving ($60,000) in Verner escrow for possible judgment claim resolution.

        3. We agreed to a 1/3 fee plus expenses incurred on Yitzhak’s settleent money because
           the piecemeal collection from Yitzhak, with Kahlon sure to be on the horizon, plus
           my big hours up to and including the trial, made it impossible to calculate a fee
           precisely in March 2016.

        4. I have approximately 2000 total hrs booked on the Kahlon case since March 2014.
           At $200 that’s a figure of $400,000. Plus 17% of 1.6 million is $272,000. Total would
           be $672,000. That is obviously too much when you consider that 1/3 of the whole
           $1,600,000 is $533,000.

        5. 33.33 % of $1,009,000 = $336,333 for the Kahlon portion of the settlement. I will
           agree to that figure if you do. But theer are additional considerations for which we
           have to account.

               a. Appeal – The Retainer Agreements did not cover the appeal work. In fact, it
                  is specifically excluded and denoted as additional/separate work. I spent
                  about 100 hours on that which at $400 is $40,000 and the printers’ bill is
                  approx $3000 (I’m looking for it);

               b. Plus we need to address the following cases (non-of which can be precisely
                  billed until I run my bills which I intend to do around May 30):

                       i. Bassie – total time is approx. $14,120 as of now (see attached draft
                          bill);
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 RE: FINAL BILLING AFTER KAHLON BOND COLLECTION
 Page 2


                   ii. Yitzhak Defense – total time is approx. $14,200 as of now (see
                       attached draft bill). We need to keep a Retainer on account to cover
                       defense costs. I thinlk we are going to end up throwing $50,000 at
                       the defense but that we should be able to get Quinn and Botton’s
                       carrirs to pay a settlement OR will use them at summary judgment
                       motion to argue that their negligence was the proximate cause of
                       Kalon’s alleged damages;

                   iii. Kahlon Shotgun Case - total time approx.is $20,040 as of now (see
                        attached draft bill);

                   iv. Local Counsel fees – approx. $10,750 as of now (see attached LC
                       bills)(we need to pay these soon, collect Yitzhak’s portion and
                       determine how to reduce fees until we get dismissed hopefully;

                   v. Vacca – I closed this case a while ago. Have approx. $3,320.00 in a
                      draft bill to be finalized (see attached draft bill);

                   vi. Kahlon’s Defamation Lawsuit - we have a Retainer Agreement for
                       $400 per hour. I have already moved it to federal court and will soon
                       have to answer and/or move to dismiss. As said in a prior report,
                       don’t know if we can get dismissed on a motion yet. Various
                       strategies have to be assessed and chosen. You probably want to
                       leave a Retainer deposit with me of $15,000;

                  vii. Lambes v. Ed and TJ Management – Now that the money is in, we
                       can safely start this lawsuit. I can’t yet tell whether the defendants
                       have assets but we can certainly make their life miserable or try to. I
                       suggest a hourly fee at $300 plus $15% of the recovery. This may be
                       conmverted to full contingency if we find that they have assets.
                       $5000 Retainer requested.

                  viii. Soveriegn/AmEx/Landlord – these rough draft bills are $4,960, $2300
                        and $3,680 respectively. These are probably ½ of the true hours
                        which I have to go through my emails and written files to be precise.
                        We need to engage in a campaign to negotiate 10% on the dollar
                        settlements.
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 RE: FINAL BILLING AFTER KAHLON BOND COLLECTION
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 The following Table adds things up approximately:



  ACTION          FEES                RETAINER/EXTRA COSTS       NOTES
                                      FOR FINAL BILL
  Main Case       $336,333
  Appeal          $40,000                            $3000
  Bassie          $14,000
  Yitzhak         $14,500             $50,000
  Shotgun         $20,000                                        ($6666)
                                                                 (1/3 of this is
                                                                 my portion)
  Local Counsel $10,750
  Vaca          $3300
  Defamation                          $15,000
  TJ Suit                             $5000
  Collections   $10,000               $3000
  Cases
  Escrow                                                         ($60,000)
                                                                 You can
                                                                 leave it with
                                                                 me or put it
                                                                 in your
                                                                 account
  SubTotals       $448,883            $73,000        $3000       $524,000
  TOTAL                                                          $457,334


 I’ll call around 10 am to discuss.


 Paul
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   From:            Troy Lambe
   To:              paulwverner@vernerlaw.com
   Subject:         Re: Fees
   Date:            Wednesday, May 16, 2018 11:47:42 PM


  dude scratch that last attached document your math is incorrect. Please see attached, you made an error
  not in your favor just deduct the total in red from the 1m9k see balance, add credits its 537,449 to us not
  577,449




  On Wed, May 16, 2018 at 3:19 PM, Paul W. Verner <paulwverner@vernerlaw.com> wrote:

     PS – I’m going to be taking a break for about a week but I’ll have a todo list
     for your review on all the open items. We can start attacking them one by
     one. Regards.

     -----------------------------------------------




     Troy/Janet - I think these calculations are all correct now. Double check and
     if I haven’t made an error, please sign the Table to authorize the wire transfer
     and return it by email with banking instructions.


     Unless you are already at the Harley Dealer, in which case I can surely wait.


     --------------------------------
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    I have to get a letter out the door, then I am shutting the phones and finishing
    with your $. OK?

    ------------------




    Yea you are absolutely right. Erica pays $6666.00 .


    Let me send you a revised table.


    Paul W. Verner ■ Verner Simon
    ____________________________________________________________

    30 Wall Street, 8th Floor ¦ New York, NY 10005

    Tel: (212) 502-5500 ¦ Fax: (212) 502-5400

    ____________________________________________________________




    Five Greentree Centre ¦ 525 Rt. 73 North, Suite 104 ¦ Marlton, NJ 08053

    Tel: (856) 817-6315 ¦ Fax: (856) 817-6017

    ____________________________________________________________




    From: Troy Lambe <troylambe@gmail.com>
    Sent: Wednesday, May 16, 2018 1:06 PM

    To: paulwverner@vernerlaw.com
    Subject: Re: Fees



    Hey man, setting everything up..I have on question on the fees..you put 20k on the sheet for
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                                          #: 553

    the "Shotgun Case" and then you placed a $6666 credit (1/3rd) why am I paying for 2/3rd's?
    shouldn't you credit me 6666 x 2? Erica should be paying that other 6666 not me?



    I am just about ready to provide you banking instructions..I want to have you do the
    collections settlement the fees are fine...but I want 10% of 198k (judgement totals combined
    ) kept in your trust/escrow account to settle claims.

    So I think you should credit me Eric's portion of the Shotgun Case ($6666)...and withhold
    $19,800 for settlement payout in your escrow account for me..

    I am willing to give JT 2.5% at most of MY net recovery amount you send. (FYI) reminding
    him there will be another round coming..



    Later man..

    Much Love..

      



    On Tue, May 15, 2018 at 5:47 PM, Paul W. Verner <paulwverner@vernerlaw.com> wrote:

         What time do you want to talk?


         I haven’t seen your numbers yet.


         Sending small invoices and retainers over in next few emails if you need
         them. Let me know if not.


         Paul

         ---------------------




         Hi. Cant see straight yet.
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      Have a pinched nerve and cant raise my arm over my head without severe
      pain.


      Plus I just see an email saying I have to be ready to receive a call from a
      judge from 10 to 12 pm.


      Can we push the call down? 2 pm ET?


      Paul W. Verner ■ Verner Simon
      ____________________________________________________________

      30 Wall Street, 8th Floor ¦ New York, NY 10005

      Tel: (212) 502-5500 ¦ Fax: (212) 502-5400

      ____________________________________________________________




      Five Greentree Centre ¦ 525 Rt. 73 North, Suite 104 ¦ Marlton, NJ 08053

      Tel: (856) 817-6315 ¦ Fax: (856) 817-6017

      ____________________________________________________________




      From: Troy Lambe <troylambe@gmail.com>
      Sent: Tuesday, May 15, 2018 6:46 AM
      To: paulwverner@vernerlaw.com
      Subject: Re: Fees



      Hey brother, you stayed up late! Thanks for doing this, its really about 58k over my
      expectations.(not bad) :0)... however what's missing is what I believe is the most
      important going forward is the suit for this exparte' debacle I WANT their asses for what
      they have done to us both financially by way of the delays, the additional fees bestowed
      upon us to fight and for the extreme financial and emotional stress caused by their actions.
      breech of contract, intentional tort and what the fuck else your great lawyer ass says they
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                                             #: 555

      did!




      TTYS bro



      On Tue, May 15, 2018 at 3:10 AM, Paul W. Verner <paulwverner@vernerlaw.com>
      wrote:

        This Memo has a corrected Table. I forgot to add a reserve for the
        Yitzhak defense.

        -------------------------------


        Here is a memo for your review.


        I’ll send the draft bills after I print them tomorrow morning.


        Paul W. Verner ■ Verner Simon
        ____________________________________________________________

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        Tel: (212) 502-5500 ¦ Fax: (212) 502-5400

        ____________________________________________________________




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        Tel: (856) 817-6315 ¦ Fax: (856) 817-6017

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                                                                                                  INVOICE
                                                                                                      Invoice # 237
                                                                                                   Date: 01/05/2020
                                                                                                  Due Upon Receipt
 Verner Simon

 Troy Lambe
 SunRay Solar, Inc.
 546 South Cooks Bridge Road
 Jackson, NJ 08527

 982.010B Yitzhak Defense

 982.010B Yitzhak Defense

   Type       Date                             Description                           Quantity   Rate      Total

  Service   03/11/2016   Email: Email exchange with Yitzhak re Kahlon                   1.70    $350.00   $595.00
                         informing her he will be suing. Draft responsive email;
                         and draft letter for Yitzhak to Kahlon, telephone to
                         Brett Scher, report to Lambe

  Service   03/14/2016   Receive & Review: Reviewed email from Yitzhak to               0.30    $350.00   $105.00
                         Kahlon. Re: legal action against Yitzhak and naming of
                         attorney; telephone call to Lambe

  Service   03/23/2016   Receive & Review: Received notice of filing. Summons           0.20    $350.00    $70.00
                         and complaint of Yitzhak from Kahlon

  Service   03/28/2016   Email: Lengthy email exchange with Yitzhak over                2.10    $350.00   $735.00
                         Kahlon summons and complaint served on her; emails
                         back and forth re original client file; review complaint;
                         discuss same with Lambe

  Service   04/05/2016   Email: Email exchange with Yitzhak about location of           0.80    $350.00   $280.00
                         original file; discussed of Kahlon and his direction

  Service   04/06/2016   Email: Continued emails with Yitzhak and Mike                  1.70    $350.00   $595.00
                         DeSantis for whereabouts of original file. CC to Lambe

  Service   04/07/2016   Email: Email exchange with client with Fed Ex bill for         0.20    $350.00    $70.00
                         discovery.

  Expense   04/07/2016   E107 Delivery services/messengers                              1.00     $34.00    $34.00

  Service   04/10/2016   Email: Email exchange with Yitzhak re: call and when           0.40    $350.00   $140.00
                         answer will be e filed

  Service   04/12/2016   Email: Email exchange with client about extension of           0.40    $350.00   $140.00
                         time of answer. Have Yitzhak read over privilege log




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                         and review draft letter to 3 financiers in NJ from Lambe
                         case

  Service   04/13/2016   Email: Email exchange with Bock about stipulation.            0.40    $350.00    $140.00
                         Reviewed executed Stip from Bock.

  Service   04/14/2016   Receive & Review: Received notice of filing stipulation       0.10    $350.00      $35.00
                         re Answer

  Service   04/18/2016   Receive & Review: Reviewed Atlas Letter drafts from           0.70    $350.00    $245.00
                         Yitzhak.

  Service   04/19/2016   Receive & Review: Recieved notice of                          0.20    $350.00      $70.00
                         filing(Stipulation-Time to Answer)

  Service   04/25/2016   Draft: Draft and file Removal Petition; conflict letter       3.80    $350.00   $1,330.00
                         and acknowledgement of service

  Service   04/28/2016   Draft Pleading: Drafted Answer to Complaint plus third        4.90    $350.00   $1,715.00
                         party pleadings against Lambe/Sunray for declaratory
                         judgment; purpose to create diversity and federal case
                         jurisdiction to get cases back in front f Judge Wexler;
                         discussions with Lambe and Yitzhak re same. Efiling
                         of third party pleadings and service of same.

  Service   05/03/2016   Receive & Review: Recieved notice of filing.(Answer,          0.30    $350.00    $105.00
                         Complaint and Summons (Pre Riji) (Amended)) Filed
                         by Verner.

  Service   05/04/2016   Email: Sent pleadings to Lambe. Discussion of next to         0.40    $350.00    $140.00
                         come and talk of Sunray.

  Service   05/04/2016   Receive & Review: Received notice of removed docs.            0.20    $350.00      $70.00
                         (Complaint and Summons)

  Service   05/17/2016   Receive & Review: Recieved notice of consent                  0.10    $350.00      $35.00

  Service   05/23/2016   Receive & Review: Recieved notice of filings.                 0.10    $350.00      $35.00
                         (PRELIMINARY CONFERENCE REQUEST
                         AFFIRMATION/AFFIDAVIT OF SERVICE RJI -RE:
                         REQUEST FOR PRELIMINARY CONFERENCE)

  Service   05/27/2016   Email: Email from Yitzhak asking about plan.                  0.20    $350.00      $70.00

  Service   06/21/2016   Draft Letter: Draft conflict of interest letter and sent to   2.30    $350.00    $805.00
                         clients for review.

  Service   06/21/2016   Draft acknowledgment of service for Troy Lambe                0.20    $350.00      $70.00

  Service   06/21/2016   Email: (21) Various and from clients re: initial DMC          1.50    $350.00    $525.00
                         assigment notice, Lambe letter of acknowledgemet,
                         third party summons, conflict letter signed,

  Service   06/21/2016   Email: Correspondence sent from Lambe.                        0.60    $350.00    $210.00

  Service   06/22/2016   Email: Various emails (10) to and from clients re:            1.40    $350.00    $490.00
                         Notice of removal letter pt.1, pt2. pt3, Conflict letter
                         signed TL-1 signed by Yitzhak,




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  Service   06/23/2016   Email: Various emails (12) to and from clients re:        1.50    $350.00    $525.00
                         Affirmation of Service, Settlement agreement, Nassau
                         Complaint pt1, pt2, pt3,

  Service   06/23/2016   EF: Efiling of various papers re Notice of Removal;       0.90    $350.00    $315.00
                         telephone call to clerk

  Service   06/28/2016   Email: Various to and from clients re: Conference is to   1.10    $350.00    $385.00
                         occur in the removed Kahlon v. Yitzhak case, Review
                         order reassigning case for Judge Wexler.

  Service   06/30/2016   Email: Various to and from clients re: goals and          0.70    $350.00    $245.00
                         strategies for Yitzhak malpractice case, report to
                         clients after court.

  Service   07/01/2016   Court Hearing: Court appearance post removal before       6.50    $350.00   $2,275.00
                         Judge Wexler in federal court for a status conference.
                         Wexler set briefing schedule on Motion to Remand to
                         be filed by Kahlon. Includes travel to Central Islip.

  Service   07/05/2016   Email: Received notice of filing. (Minute Entry for       0.60    $350.00    $210.00
                         proceedings held before Judge Leonard D. Wexler:
                         Status Conference held on 7/1/2016. Plaintiff(s)
                         represented by Jennifer J. Bock, Esq. Defendant(s)
                         represented by Paul W. Verner, Esq. Plaintiff is
                         permitted to move to remand this action to State Court
                         in accordance with the following briefing schedule:
                         initial papers shall be served by August 1, 2016;
                         opposition papers shall be served by September 6,
                         2016; reply papers shall be served by September 16,
                         2016. In accordance with the Court's rules, all papers
                         shall befiled, via ECF, on the reply date of September
                         16, 2016, with courtesy copies provided to Chambers
                         by the movant. Proceedings concluded. (Court
                         Reporter Paul Lombardi.) (Russo, Eric) Notice of
                         Appearance by Joeckel

  Service   07/11/2016   Email: Email exchange with Yitzhak re: Kahlon and         0.90    $350.00    $315.00
                         court on Friday July 1 (7/10-7/11)

  Service   07/20/2016   Receive & Review: Received notice of change of            0.40    $350.00    $140.00
                         contact information by Joeckel.

  Service   08/01/2016   Email: Various to and from clients and opposing           0.50    $350.00    $175.00
                         attorney re: Motion for Remand and an Award of
                         Attorneys’ Fees, Memorandum of Law.

  Service   08/01/2016   Receive & Review: Received discovery from Joeckel.        1.70    $350.00    $595.00
                         (remand Motion cover Letter, Declaration remand,
                         Exhibits, Remand memo, Not Mot Remand) All PDF
                         copies, hard copies follow

  Service   09/06/2016   Email: Various to and clients and opposing attorney re:   0.60    $350.00    $210.00
                         request opposition to serve remand motion, Extension
                         of Time to File Response/Reply to Motion for Remand
                         by Troy Lambe, Order granting [158] Motion to




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                         Adjourn Conference. The proceeding scheduled for 9/
                         7/16 is adjourned to 9/21/16 at 10:30 a.m,

  Service   09/07/2016   Email: Received notice of filing.(Motion for Extension      0.50    $350.00    $175.00
                         of Time, Response of Opposition, Order granting
                         Motion extending time.) 9/6-9/7

  Service   09/08/2016   Draft Motion: Draft opposition on motion to remand;         4.00    $350.00   $1,400.00
                         legal research

  Service   09/14/2016   Email: Various to and from clients and attorney re:         0.50    $350.00    $175.00
                         Declaration in Opposition to the Kahlon Plaintiffs’
                         Motion to Remand, and uptades

  Expense   09/19/2016   E107 Delivery services/messengers: Federal Express          1.00     $67.29      $67.29
                         - copies of briefs to Kahlon's attorney for filing.

  Service   10/07/2016   Email: Various to and from clients and opposing             0.60    $350.00    $210.00
                         attorney, re: Various motions, declaration and...to stay/
                         go to federal court

  Service   06/27/2017   Telephone Conference Client: Telephone call from            0.20    $350.00      $70.00
                         Yitzhak re status

  Service   06/27/2017   Email: Email exchange with client about status.             0.40    $350.00    $140.00

  Service   09/01/2017   Receive & Review: Receive Order remanding case to           1.20    $350.00    $420.00
                         Judge Drisscoll; analysis- discussion with clients;
                         emails

  Service   09/06/2017   Receive & Review: Receive Wexler's Order remanding          0.70    $350.00    $245.00
                         case to state court; email to clients re: same

  Service   09/08/2017   Email: Email exchange with Lambe re:Wexler Remand           0.90    $350.00    $315.00
                         to Nassau: attorneys fees, and future decisions on
                         Yitzhak. Same conversation with Yitzhak

  Service   09/13/2017   Telephone Conference Client: Telephone conference           0.40    $350.00    $140.00
                         E Yitzhak

  Service   09/21/2017   Research: Researched the prior action against               4.30    $350.00   $1,505.00
                         DeSantis filed by Kahlon and the decision dismissing
                         same; pull all court papers; read and analyze same

  Service   09/25/2017   Research: Research Justice Parga, DeStefano and             3.10    $350.00   $1,085.00
                         Driscoll; notes to file

  Service   09/26/2017   Receive & Review: Received notice of filing. Letter/        0.10    $350.00      $35.00
                         Correspondence to Judge

  Service   10/02/2017   Draft Motion: Draft motion to transfer and consolidate      4.80    $350.00   $1,680.00
                         the remanded Yitzhak Defense case with the Kahlon
                         Shotgun case; various conference calls with the
                         attorneys for Scher and DeSantis

  Service   10/03/2017   Receive & Review: Received notice of filing. Letter/        0.10    $350.00      $35.00
                         Correspondence to Judge, Exhibits A-H




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  Service   10/04/2017   Receive & Review: Received notice of filing. Letter to    0.20    $350.00      $70.00
                         Judge, and ewatch alert :The Clerk's docket
                         comments concerning this case have been updated to
                         the following: CASE REMANDED BACK TO NASSAU
                         COUNTY SUPREME COURT BY LEONARD D.
                         WEXLER, UNITED STATES DISTRICT COURT.

  Service   10/04/2017   Receive & Review: Receive opposition to my motion to      1.80    $350.00    $630.00
                         transfer and consolidate; note for reply

  Service   10/05/2017   Receive & Review: Received notice of filing.              0.80    $350.00    $280.00
                         (Judgement for Attorneys Fees)hat plaintiffs Yossef
                         Kahlon and Atlas Solar Holdings request for attorneys
                         fees is granted; and that judgment is hereby entered
                         for plaintiffs Yossef Kahlon and Atlas Solar Holdings,
                         LLC and against defendants/third-party plaintiffs Erica
                         T. Yitzhak, The Law Offices of Erica T. Yitzhak, and
                         Erica T. Yitzhak Esq., P.C., and third-party defendants
                         Troy Lame and Sunray Solar, Inc., jointly and
                         severally, in the amount of $9,268.00. (Executed by:
                         James J. Toritto, Deputy Clerk, on September 8, 2017)
                         (Fagan, Linda) (Main Document 17 replaced on 10/5/
                         2017) (Fagan, Linda); forward judgment with note to
                         Lambe.

  Service   10/06/2017   Receive & Review: Received ewatch alert re: n             0.20    $350.00      $70.00
                         November 9, 2017, an appearance is scheduled
                         before Judge ANTHONY L. PARGA in ANTHONY L.
                         PARGA (PC PART). The following additional
                         comments exist: 9:30.

  Service   10/06/2017   Draft Motion: Draft Reply motion papers transfer and      2.10    $350.00    $735.00
                         consolidate cases

  Service   10/12/2017   Receive & Review: Received notice of filing. Notice of    1.80    $350.00    $630.00
                         Motion to disqualify Verner and VS from representing
                         Yitzhak; review and outline Affirmation in Support of
                         Motion and Exhibits A-I; notify clients

  Service   10/14/2017   Receive & Review: Email from Lambe asking about           0.30    $350.00    $105.00
                         appearance.

  Service   10/17/2017   Draft Motion: Draft letter motion seeking transfer of     2.00    $350.00    $700.00
                         case to Judge Driscoll

  Service   10/18/2017   Receive & Review: Email with client edits of Judge        0.30    $350.00    $105.00
                         Adams second request transfer doc

  Service   10/18/2017   Receive & Review: Double check motion to disqualify       1.00    $350.00    $350.00
                         Verner Simon and ethics rule used; memo to file re
                         opposition

  Service   10/23/2017   Research: Researched local counsel possibilities;         4.20    $350.00   $1,470.00
                         analysis of the need for local attorneys; emails and
                         telephone calls to clients re: engagement of local
                         counsel; obtained authority; telephone call to David




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                         Zwerling re same; telephone calls and emails to
                         Charlie Horn; obtain retainer agreements.

  Service   10/24/2017   Email: Email exchange with clients, Friedman, and          0.90    $350.00    $315.00
                         Zwerling about adding Friedman to case. Sent Second
                         Conflict Letter to both clients to review and execute to
                         send back.

  Service   10/25/2017   Research: Legal research for Opposition to Motion to       3.90    $350.00   $1,365.00
                         Disqualify Verner Simon.

  Service   10/26/2017   Receive & Review: Received notice of filing.               0.80    $350.00    $280.00
                         (Affirmation in Opposition, Request to Transfer,
                         Second Circuit Appeal, Federal Settlement and
                         Discontinuance, Stipulated, Discontinuance of Third
                         Party Complaint. Request to Transfer, Second Circuit
                         Appeal, Federal Settlement and Discontinuance,
                         Stipulated Discontinuance of Third Party Complaint.
                         Affidavit of Service, Notice of Appearance,

  Service   10/26/2017   Draft Motion: Draft opposing papers Motion to              5.30    $350.00   $1,855.00
                         Disqualify Verner Simon; efile same.

  Service   10/30/2017   Email: Emails to Horn and Zwerling about engagement        0.40    $350.00    $140.00
                         and money and being Disqualified by court without
                         transfer to Destefano

  Service   10/30/2017   Draft Pleading: Draft discontinuation and dismissal of     1.60    $350.00    $560.00
                         the Yitzhak v Lambe declaratory judgment action;
                         efiling and related service

  Service   10/31/2017   Email: Ewatch alert re: change of Judge to Destefano.      0.60    $350.00    $210.00
                         Email exchange about change of judge with clients.

  Service   11/01/2017   Receive & Review: Receive and review reply papers          1.30    $350.00    $455.00
                         Motion to Disqualify Verner Simon; efile same.

  Service   11/02/2017   Receive & Review: Notice of scheduled appearance.          0.10    $350.00      $35.00

  Service   11/05/2017   Receive & Review: Sent Bad Faith letter to Bock and        0.30    $400.00    $120.00
                         Joeckel.

  Service   11/06/2017   Receive & Review: Email exchange with Horn                 0.30    $400.00    $120.00
                         scheduling call.

  Service   11/07/2017   Receive & Review: Letter from Bock about                   0.30    $400.00    $120.00
                         rescheduling prelim coneference.

  Service   11/08/2017   Receive & Review: Recieved Ewatch alert. Re                0.20    $350.00      $70.00
                         appearance held and marked the motion
                         ADJOURNED with the following additional comments:
                         EFILED MOTION,3PGS 10/12/17 TO ALP.

  Service   11/08/2017   Email: Email exchange with Bock about date for prelim      0.20    $350.00      $70.00
                         conference.

  Service   11/13/2017   Email: Email exchange with Lambe about retainers.          0.40    $350.00    $140.00




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  Service   11/20/2017   Email: Email from Clerk Kirkland confirming                 0.20    $350.00      $70.00
                         rescheduling of Prelim conference.

  Service   12/08/2017   Email: Notice of scheduled appearence.                      0.20    $350.00      $70.00

  Service   12/14/2017   Court: Court appearance to argue various motions            6.00    $350.00   $2,100.00
                         before Justice DeStefano; Draft discontinuation and
                         dismissal of the Yitzhak v Lambe declaratory judgment
                         action; efiling and related service

  Service   12/14/2017   Court: Court appearance to argue various motions            6.00    $350.00   $2,100.00
                         before Justice DeStefano; Kahlon Shotgun; Yitzhak
                         Defense and Disqualify Verner

  Service   01/16/2018   Court Hearing: Preliminary conference Yitzhak               6.20    $350.00   $2,170.00
                         Defense; travel to and From Nassau Supreme

  Service   01/22/2018   Receive & Review: recieved notice of filing(order           0.20    $350.00      $70.00
                         prelim conference)

  Service   01/23/2018   Email: Email from client                                    0.20    $350.00      $70.00

  Service   02/07/2018   Email: Email to and from client about update                0.20    $350.00      $70.00

  Service   02/08/2018   Email: Email exchange with client about report              0.40    $350.00    $140.00

  Service   02/16/2018   Email: Emails from Yitzhak about location of client files   0.20    $350.00      $70.00

  Service   02/17/2018   Email: Email exchange with Yitzhak about email her          0.40    $350.00    $140.00
                         files

  Service   02/18/2018   Email: Email exchange with Yitzhak about email files        0.40    $350.00    $140.00

  Service   02/23/2018   Email: Email exchange with Yitzhak about thumb drive        0.80    $350.00    $280.00
                         and status of case

  Service   02/24/2018   Email: Email from Yitzhak's former defense attny re         0.20    $350.00      $70.00
                         client files

  Service   02/25/2018   Email: Email exchange with Yitzhak about email              0.50    $350.00    $175.00
                         received 02/24

  Service   02/28/2018   Email: Received stip from Joeckel and sent emails           0.60    $350.00    $210.00
                         discussing stip

  Service   03/05/2018   Receive & Review: Received plaintiffs demand for            0.30    $350.00    $105.00
                         production of documents from law office; note to file

  Service   03/08/2018   Receive & Review: Receive and review discovery              0.30    $350.00    $105.00
                         demands from Kahlon; cursory review; calendar same
                         for handling

  Service   03/08/2018   Draft Discovery: Draft responses to Kahlon discovery        4.80    $350.00   $1,680.00
                         demands; document production; Bates stamping;
                         review of prior litigation file; to be continued




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  Service   03/15/2018   Receive & Review: Receive and review Dropbox files -    5.40    $350.00   $1,890.00
                         responses from Kahlon to our discovery demands;
                         general review Kahlon docs for completeness

  Service   03/20/2018   Draft Discovery: Final draft responses to Kahlon        6.50    $350.00   $2,275.00
                         discovery demands; document production; Bates
                         stamping; review of prior litigation file.

  Service   04/05/2018   Email: Received emails from client and Kirkland         0.30    $350.00    $105.00

  Service   04/06/2018   Email: Email from client and received notice of         0.30    $350.00    $105.00
                         appearance

  Service   04/11/2018   Telephone Conference Court: Conference call with law    0.50    $350.00    $175.00
                         clerk and counsel- set conference for 4/30/2018.

  Service   04/11/2018   Receive & Review: Received notice of filing (decision   0.10    $350.00      $35.00
                         and order on motion)

  Service   04/23/2018   Email: email exchange with Yitzhak about producing      0.90    $350.00    $315.00
                         emails for discovery

  Service   04/25/2018   Email: email exchange with Yitzhak and opposition       0.40    $350.00    $140.00
                         about producing emails for discovery

  Service   04/26/2018   Email: email exchange with Yitzhak and Troy about       0.90    $350.00    $315.00
                         producing emails for discovery

  Service   04/26/2018   Receive & Review: received minute entries               0.20    $350.00      $70.00

  Service   04/27/2018   Receive & Review: email exchange with Yitzhak about     0.70    $350.00    $245.00
                         attorney referral and emails

  Service   04/30/2018   Email: email exchange with client about debriefing      0.40    $350.00    $140.00
                         emails

  Service   05/01/2018   Email: Emails with client about receiving discovery     0.40    $350.00    $140.00

  Service   05/03/2018   Receive & Review: Received discovery emails for         1.00    $350.00    $350.00
                         Yitzhak for review

  Expense   05/04/2018   E110 Out-of-town travel: AMTRAK - LI COURT              1.00    $165.00    $165.00
                         CONFERENCE

  Expense   05/04/2018   E110 Out-of-town travel: HOTEL - LI COURT               1.00    $364.37    $364.37
                         CONFERENCE

  Service   05/04/2018   Court Hearing: Hearing on Remanded Case/ status         6.10    $175.00   $1,067.50
                         conference 1/2 Rate appeared on both cases

  Service   05/06/2018   Email: emails to Troy re Yitzhak defense                0.30    $350.00    $105.00

  Service   05/07/2018   Email: emails to client about settlement agreement      0.60    $350.00    $210.00
                         and thumb drive

  Service   05/14/2018   Email: email exchange client about confirmation of      0.40    $350.00    $140.00
                         received thumb drive




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  Service   06/04/2018   Email: email exchange with Charles Horn about                  0.40    $350.00    $140.00
                         conference

  Service   06/05/2018   Email: email exchange with client and Troy about               0.90    $350.00    $315.00
                         discovery and emails

  Service   06/06/2018   Email: Sent docs to Horn for conference. Non                   2.00    $350.00    $700.00
                         privileged docs. Yitzhaks file produced in Fed Case

  Service   06/06/2018   Discovery: Detailed review over 2 days (June 5 and            12.00    $350.00   $4,200.00
                         June 6) of the Lambe v. Kahlon litigation file for
                         production in discovery; detailed review of Yitzhak
                         client file for Kahlon for production; convert all files to
                         new Adobe docs with bates stamps; uploading of
                         same to Dropbox for production to Kahlon's counsel

  Service   06/07/2018   Email: Email exchange for setting conference date              0.30    $350.00    $105.00

  Service   06/07/2018   Receive & Review: received notice of filing                    0.30    $350.00    $105.00

  Service   06/08/2018   Email: Email exchange for setting conference date              0.40    $350.00    $140.00

  Service   06/24/2018   Email: Email exchange with client and Horn discussing          0.70    $350.00    $245.00
                         Kahlon pressure

  Service   07/10/2018   Email: Email for Kirkland                                      0.10    $350.00      $35.00

  Service   07/11/2018   Receive & Review: received notice of filing. Decision          0.20    $350.00      $70.00
                         and Order on Motion, notice of Entry

  Service   07/11/2018   Receive & Review: Receive and review Justice                   0.70    $350.00    $245.00
                         DeStefano's Decision Denying Verner disqualification;
                         analyze decision and potential for dismissing local
                         attorneys; emails to clients re same.

  Service   07/16/2018   Email: Email from Clerk Kirkland with compliance               0.20    $350.00      $70.00
                         conference forms

  Service   09/12/2018   Court Hearing: Court appearance for compliance                 5.50    $350.00   $1,925.00
                         conference; travel to and from.

  Service   09/13/2018   Email: Email to Horn                                           0.10    $350.00      $35.00

  Service   01/23/2019   Email: Email to Troy re: sending of Satisfaction of            0.10    $350.00      $35.00
                         Judgement

  Service   01/25/2019   Receive & Review: review ADR Attorney Cert. Form               0.20    $350.00      $70.00
                         from court

  Service   01/28/2019   Email: Email exchange with Horn re: 1/31 appearance,           0.70    $350.00    $245.00
                         ADR cert. form, confidentiality, and discovery
                         demands 6/5/18

  Service   01/29/2019   Email: Email exchange with Danielle Enos re                    0.40    $350.00    $140.00
                         Friedman Bill cc to Horn

  Service   01/30/2019   Receive & Review: Received Notice of Appearance of             1.30    $350.00    $455.00
                         new attorney Dan Abrams; filing(Substitution of




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                         attorney post RJI) (1/30-1/31); discussions with
                         Lambe; research Abrams' background and case
                         history

  Service   02/04/2019   Conference: Confer w Charlie Horn about status           0.60    $350.00    $210.00
                         conference attended by associate.

  Service   02/05/2019   Email: Email exchange with Strong re signing of          0.30    $350.00    $105.00
                         confidentiality stip. Email from Enos re Friedman bill

  Service   02/06/2019   Receive & Review: Reviewed notice of filing(Stip-        0.10    $350.00      $35.00
                         Confidentiality)

  Service   02/19/2019   Email: Received notice of appearance held on Feb 15.     0.20    $350.00      $70.00
                         and Kahlon confidentiality stip.

  Service   02/21/2019   Email: Email exchange with Lambe re various case         0.50    $350.00    $175.00
                         requests/updates. reviewed ewatch alert The Clerk's
                         docket comments concerning this case have been
                         updated to the following: CASE REMANDED BACK
                         TO NASSAU COUNTY SUPREME COURT BY
                         LEONARD D. WEXLER, UNITED STATES DISTRICT
                         COURT.; STIP/DISC AS TO THE THIRD-PARTY
                         ACTION ONLY 10/25/17; PER TAA CASE IS
                         RELATED TO 609252/17 AND IS RE-ASSIGNED TO
                         VMD COMMERCIAL DIVISION; VMD 7/9/18 MOTION
                         001 TO DISQUALIFY IS DENIED.; STIPULATION
                         AND ORDER FOR THE PRODUCTION AND
                         EXCHANGE OF FONFIDENTIAL INFORMATION
                         SIGNED 2-20-19 BY VMD.

  Service   02/25/2019   Receive & Review: Reviewed ewatch alert re; attorney     0.10    $350.00      $35.00
                         of record added

  Service   02/27/2019   Receive & Review: review notice of filing (stip- so      0.30    $350.00    $105.00
                         ordered from court) Discussion with Lambe re stip.

  Service   03/28/2019   Correspond: Emails and telephone calls with Kahlon's     1.80    $350.00    $630.00
                         new attorney, Dan Abrams re paper discovery already
                         exchanged. Set additional conference time for 4/1/
                         2019

  Service   03/31/2019   Draft Summary: Report to Yitzhak and Lambe both          0.70    $175.00    $122.50
                         cases 1/2 Rate: Kahlon has new counsel, Dan
                         Abrams; will be having a conference with Abrams early
                         this week to feel him out about the case; letting go
                         local counsel, Charlie Horn and his firm; I will be
                         finalizing my accounting for fees owed on the Shotgun
                         case ; Depending on my next conference with Abrams,
                         I will make suggestions for moving forward. I don’t
                         think that bringing a third-party case against Botton
                         and Quinn is worthwhile in the defense. Erica, it may
                         be, however, that you have independent claims
                         against them for fees and costs incurred in the Lambe
                         v. Kahlon/Yitzhak case; does make sense to implead
                         TJ Management and Ed Gurin who have independent
                         liability for lying to Erica when she was representing




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                         Kahlon and Atlas; goal get minimum discovery done
                         and then move for summary judgment.

  Service   05/07/2019   Receive & Review: Receive subpoena for me and              2.20    $350.00     $770.00
                         Verner Simon re settlement records; letter to Abrams
                         re Motion to Quash

  Service   05/10/2019   Email: Emails between counsel confirming deposition        1.10    $350.00     $385.00
                         dates; telephone call from Meister Selig counsel re
                         privilege; telephone call Dan Abrams re same; emails
                         re start time of Yitzhak depo; emails back and fort
                         setting time; additional emails about case handling

  Service   05/12/2019   Prep Deposition: Prepare for Kahlon deposition;            5.00    $350.00    $1,750.00
                         analyze proofs; choose and organize exhibits to use

  Service   05/13/2019   Emails to and from client discussing Yitzhak testimony     0.60    $350.00     $210.00
                         and billing.

  Service   05/13/2019   Deposition: Prepare for and Conduct Deposition of          8.70    $350.00    $3,045.00
                         Kahlon; travel time.

  Service   05/14/2019   Email: Confirming call with client at 12.                  0.20    $350.00      $70.00

  Service   05/15/2019   Email: Several emails re: deposition with Yitzhak.         1.00    $350.00     $350.00
                         Discussion of rescheduling with Abrams, and notice of
                         filing: Letter to Judge DeStefano

  Service   05/16/2019   Email: Emails to/from Yitzhak and Abrams discussing        2.20    $350.00     $770.00
                         rescheduling of deposition and invoicing;
                         correspondence with Court re Abrams request to so-
                         order the date; telephone conference with Court;
                         subsequent telephone call with Abrams.

  Service   05/17/2019   Receive & Review: Receive and review: Stipulated           0.70    $350.00     $245.00
                         deposition date. emails from Abrams about deposition.

  Service   05/18/2019   Email: Emails w/ client re: billing                        0.40    $350.00     $140.00

  Service   05/19/2019   Email: emails with client re: strange email from Noa       0.20    $350.00      $70.00
                         Ben Dor

  Service   05/19/2019   Email: emails with client re: strange email from Noa       0.20    $350.00      $70.00
                         Ben Dor

  Service   05/20/2019   Receive & Review: Rec&review documents form Koh            1.50    $350.00     $525.00
                         re: Yitzhak. Emails to/from Yitzhak re: call and billing

  Service   05/21/2019   Receive & Review: Rec&review Consent to Withdraw           0.60    $350.00     $210.00
                         from Murphy. Emails to and from Yitzhak re: billing

  Service   05/21/2019   Receive & Review: Rec&review Consent to Withdraw           0.60    $350.00     $210.00
                         from Murphy. Emails to and from Yitzhak re: billing

  Service   05/23/2019   Receive & Review: Court comments                           0.30    $350.00     $105.00

  Expense   05/29/2019   E115 Deposition transcripts: Deposition of Kahlon          1.00   $1,331.50   $1,331.50




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  Service   06/03/2019   Email: Emails to and from Yitzhak about trial             1.50    $350.00    $525.00
                         documents

  Service   06/03/2019   Prep Deposition: Prepare Yitzhak for her deposition in    3.90    $350.00   $1,365.00
                         this matter; review trial transcripts; review
                         correspondence with Edward.

  Service   06/04/2019   Email: Emails to and from client and Koh about            1.50    $350.00    $525.00
                         deposition and letter

  Service   06/04/2019   Deposition: Conduct deposition of Yitzhak in this         9.00    $350.00   $3,150.00
                         matter; post depo conference; travel to and from

  Service   06/05/2019   Email: email to and from client re: Kahlon and            1.00    $350.00    $350.00
                         deposition

  Service   06/06/2019   Email: email exchange with Yitzhak, Abrams, and           2.30    $350.00    $805.00
                         Murphy re: documents

  Service   06/07/2019   Receive & Review: rec&review: notice of deposition        0.30    $350.00    $105.00
                         and exhibits

  Service   06/08/2019   Email: email exchange with Abrams filing a motion         0.40    $350.00    $140.00

  Service   06/09/2019   Email: email exchange with Yitzhak re: testimony          0.30    $350.00    $105.00

  Service   06/12/2019   Email: email exchange with client about subpeona          0.30    $350.00    $105.00

  Service   06/13/2019   Email: Email exchange with Abrams re: Yitzhak             0.30    $350.00    $105.00
                         testimony

  Service   06/17/2019   Email: email exchange re: subpoena                        0.40    $350.00    $140.00

  Service   06/20/2019   Email: email exchange re: Abrams and subpoena for         0.40    $350.00    $140.00
                         me and Verner Simon

  Service   06/21/2019   Email: Email exchange with Abrams re: documents           0.30    $350.00    $105.00

  Service   06/25/2019   Email: email exchange with Yitzhak re: billing            0.80    $350.00    $280.00

  Service   06/27/2019   Email: emails with Abrams re: non privilege logs          0.20    $350.00      $70.00

  Service   06/28/2019   Receive & Review: Receive Notice to Admit facts re        1.20    $350.00    $420.00
                         settlement and Kahlon exclusion; note to file

  Service   07/01/2019   Email: Emails to/from Abrams re:documents                 0.20    $350.00      $70.00

  Service   07/08/2019   Email: Email from Abrams re privilege log                 0.10    $350.00      $35.00

  Service   07/11/2019   Receive & Review: rec&review notice of filing letter to   0.10    $350.00      $35.00
                         judge

  Service   07/15/2019   Abstract: Abstract summary of Kahlon Deposition;          2.80    $350.00    $980.00
                         memo to file

  Service   07/15/2019   Receive & Review: Receive and review Notice to            2.10    $350.00    $735.00
                         Admit post deposition re the issue of mitigation of
                         Kahlon's damages; analyze same; email to Yitzhak




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                                                 #: 569                               Invoice # 237 - 01/05/2020




  Service   07/16/2019   Abstract: Abstract summary of Yitzhak Deposition -        3.80    $350.00   $1,330.00
                         memo to file (cross-reference Kahlon)

  Service   07/18/2019   Email: email exchange with Abrams and Yithzak re:         0.80    $350.00    $280.00
                         deposition of Yitzhak

  Service   07/19/2019   Email: email exchnage with court and Abrams about         0.60    $350.00    $210.00
                         certification conference

  Service   07/22/2019   ET: Text transmission Lambe and me re certification       0.30    $350.00    $105.00
                         conference and subpoena on me

  Service   07/23/2019   Email: email exchnage with Lambe re: letter to Erica      0.30    $350.00    $105.00

  Service   07/24/2019   Email: Email from Lambe re: letter to Yitzhak             0.10    $350.00      $35.00

  Service   07/29/2019   Email: email exchange with Abrams re: adjourn             1.00    $350.00    $350.00
                         request

  Service   07/30/2019   Email: email exchange with court and Abrams re            0.60    $350.00    $210.00
                         adjournment

  Service   07/30/2019   Court: Attend compliance conference J. DeStefeno -        6.00    $350.00   $2,100.00
                         argue against subpoena and deposition of Verner
                         Nassau County - travel

  Service   07/30/2019   Draft Discovery: Draft and serve answer to first Notice   1.00    $350.00    $350.00
                         to Admit

  Service   07/31/2019   Receive & Review: notice of filing : letter to judge      0.20    $350.00      $70.00

  Service   08/02/2019   Receive & Review: Notice of apperance held                0.20    $350.00      $70.00

  Service   08/05/2019   Receive & Review: Review exhibits from Abrams             0.20    $350.00      $70.00

  Service   08/05/2019   Receive & Review: Exhibits received from Dan              2.10    $350.00    $735.00
                         Abrams from Yitzhak's deposition - outline contents

  Service   08/13/2019   Email: Email from Abrams re; Kahlon transcript            0.20    $350.00      $70.00

  Service   08/13/2019   Receive & Review: Receive second Notice to Admit;         1.10    $350.00    $385.00
                         outline

  Service   08/14/2019   Email: email to and from Abrams re: kalhon depostion      0.20    $350.00      $70.00

  Service   08/15/2019   Email: email to and from Abrams re: kalhon depostion      0.20    $350.00      $70.00

  Service   08/21/2019   Receive & Review: Review expert report of Marjorie        2.70    $350.00    $945.00
                         Berman; outline issues; determine responsive position

  Service   08/22/2019   Email: Email exchange with Yitzhak re:expert report       0.90    $350.00    $315.00

  Service   09/18/2019   Email: email exchange with Abrams about conference        0.30    $350.00    $105.00

  Service   09/19/2019   Email: email exchange with court and Abrams re            1.50    $350.00    $525.00
                         telephone conference; conduct telephone conference
                         re certification

  Service   09/20/2019   receive and review re: notice of apperances               0.50    $350.00    $175.00




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  Service   09/21/2019   Email: Emails to and from lambe re: call                  0.30     $350.00     $105.00

  Service   09/23/2019   Draft Discovery: Draft Answer to SECOND Notice to         2.00     $350.00     $700.00
                         Admit post deposition re the issue of mitigation of
                         Kahlon's damages; analyze same

  Service   10/15/2019   Email: email exchnage with Abrams about telehpone         0.30     $350.00     $105.00
                         conference

  Service   11/12/2019   Receive & Review: review emails between court and         0.30     $350.00     $105.00
                         Abrams re: certification order

  Service   11/18/2019   Email: Email exchange with clients re: status update to   1.00     $350.00     $350.00
                         case

  Service   11/20/2019   Receive & Review: review notice of apperance              0.30     $350.00     $105.00

  Service   11/21/2019   Receive & Review: (11/21-11/29) notice of filing,         0.70     $350.00     $245.00
                         Certification for Trial

  Service   12/03/2019   Email: Email exchange with clients and opposition re:     0.90     $350.00     $315.00
                         UCC-1 never terminated

  Service   12/04/2019   Email: Email exchange with Yitzhak re: sealing motion     0.60     $350.00     $210.00

  Service   12/05/2019   Email: Email exchange with Botton and Abrams RE;          1.00     $350.00     $350.00
                         UCC-1

  Service   12/09/2019   Email: Email exchange with Yitzhak re: telephone          1.00     $350.00     $350.00
                         conference

  Service   12/09/2019   Email: Emails back and forth with defense counsel and     0.70     $350.00     $245.00
                         Botton re never terminated UCC 1

  Service   12/09/2019   ET: Text transmissions Lambe to me and back re            0.80     $350.00     $280.00
                         settlement and funding/billing - resolved to provide
                         accounting; Lambe ignored settlement issues and
                         disavowed nature of indemnification.

  Service   12/17/2019   Email: emails to clients re: summary judgement            0.50     $350.00     $175.00

  Service   12/23/2019   Draft Memo: Draft report to Lambe re various issues       1.00     $350.00     $350.00
                         and regarding financing and expenses and settlement
                         authority for 1/8/2020

  Service   01/03/2020   Draft Letter: NOTE BILLING PRICES INCREASED               2.40     $350.00     $840.00
                         10% AS OF 1/1/2020 Draft letter to court re
                         adjournment of settlement conference and summary
                         judgment dates; draft email to clients regarding the
                         issues rising; email exchanges with clients about the
                         reasons for the adjournment and potential conflicts;
                         follow up email exchanges

  Service   01/03/2020   Email: Follow up w Botton's office re filed UCC1          0.10     $385.00      $38.50
                         termination


                                                                                          Total       $95,985.66




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                                                  #: 571                             Invoice # 237 - 01/05/2020




 Detailed Statement of Account

  Current Invoice

     Invoice Number              Due On        Amount Due             Payments Received        Balance Due

  237                           01/05/2020            $95,985.66                       $0.00      $95,985.66

                                                                        Outstanding Balance       $95,985.66

                                                                    Total Amount Outstanding      $95,985.66




 Please make all amounts payable to: Verner Simon

 Payment is due upon receipt.




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                                                                                                    INVOICE
                                                                                                        Invoice # 240
                                                                                                     Date: 01/06/2020
                                                                                                    Due Upon Receipt
 Verner Simon

 Troy Lambe
 SunRay Solar, Inc.
 546 South Cooks Bridge Road
 Jackson, NJ 08527

 982.010G Vacca

 982.010G Vacca (Defense of UCC 1 Lien)

   Type       Date                              Description                            Quantity    Rate       Total

  Service   06/27/2016   Telephone Conference Client: Call from Lambe re                   0.70   $350.00    $245.00
                         problem with Vacca, purchaser of NY property,West
                         Fiery Road, Little Falls, NY 13339 block 3, lot 6, section
                         128.4 and UCC 1 filing; contacted Chris Smith attorney
                         on closing

  Service   07/05/2016   Email: Emails from Chris Smith requesting Affidavit.              0.30   $350.00    $105.00

  Service   07/12/2016   Email: Emails from Chris requesting Affidavit from 07/            0.40   $350.00    $140.00
                         11-07/12.

  Service   07/15/2016   Draft: Draft Affidavit concerning invalidity of UCC filing;       3.20   $350.00   $1,120.00
                         review same with Lambe; legal research pertaining to
                         same; instructions to Lambe re delivery by Fed Ex;
                         follow up email exchanges with Lambe and Chris
                         Smith.

  Service   07/22/2016   Email: Email exchange with client about status of                 0.30   $350.00    $105.00
                         Affidavit.

  Service   07/28/2016   Email: Multiple exchanges by Email with client and                0.60   $350.00    $210.00
                         attorney Chris Smith about signing of Affidavit.

  Service   07/29/2016   Email: Received email exchnage between client and                 0.60   $350.00    $210.00
                         Smith about mailing of Affidavit.

  Service   08/22/2016   Email: My multiple emails and telephone call with Chris           0.60   $350.00    $210.00
                         Smith re final UCC release.

  Service   09/01/2016   Email: Emails from Smith asking about UCC release                 0.30   $350.00    $105.00

  Service   09/07/2016   Email: Email exchange with Chris Smith discussing                 0.30   $350.00    $105.00
                         release of UCC and Title Company refusal to close until
                         fully released by court order




                                                      Page 1 of 2
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                                                  #: 580                               Invoice # 240 - 01/06/2020




  Service   09/12/2016   Receive & Review: Received Title Company letter from        0.60     $350.00    $210.00
                         Chris Smith about UCC; email reply.

  Service   09/13/2016   Email: Email exchange with Smith and client about           0.60     $350.00    $210.00
                         successful release of UCC to be effected at closing.

  Service   09/19/2016   Email: Email exchange with Smith asking for stamped         0.40     $350.00    $140.00
                         filed copy of the release

  Service   09/26/2016   Email: Received email exchange between Smith and            0.30     $350.00    $105.00
                         Vacca about closing and final UCC termination.

  Service   10/03/2016   Email: Email exchange with Chris Smith about closing -      0.30     $350.00    $105.00
                         confirmed closing occurring this week. File closed.
                         Notify Lambe.


                                                                                            Total       $3,325.00




 Detailed Statement of Account

  Current Invoice

     Invoice Number              Due On          Amount Due             Payments Received           Balance Due

  240                           01/06/2020             $3,325.00                            $0.00       $3,325.00

                                                                           Outstanding Balance          $3,325.00

                                                                     Total Amount Outstanding           $3,325.00




 Please make all amounts payable to: Verner Simon

 Payment is due upon receipt.




                                                    Page 2 of 2
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                                                #: 581



                                                                                              
                                                                                                   :A;5/1 
                                                                                               -?1     
                                                                                              @1+<;:(1/15<?
  )& )#%'&

 *=;D#-9.1
 )@:(-D);8-= :/
 );@?4;;7>=5031(;-0
 !-/7>;:%! 

    **# -,&).

    **# -,&).

   .(        +                               *)#(+#'&                       ,&+#+.    +      '+$

  )1=A5/1           (1/15A1(1A51B(1A51B10;=01=.D/;@=?2;=B41:                           
                         9;?5;:B588.101/5010;:

  )1=A5/1           (1/15A1(1A51B(1A51B10&<<;>5?5;:?;->>51>1:?                      
                         .D/815:?

  )1=A5/1           9-589-58>1:?2=;9/851:?05>?5:3@5>45:3/->1                            

  )1=A5/1           (1/15A1(1A51B(1A51B10/;9<8-5:?>>1:?.D/851:?                          
                         >1:??;)@:=-D

  )1=A5/1           (1/15A1(1A51B->>51&<<;>5?5;:B5?4C45.5?>                         
                         >1:?.D/851:?>

  )1=A5/1           (1/15A1(1A51B(1A51B10;<<;>5?5;:9;?5;:-:0                              
                         1C45.5?>?;/;9<8-5:?0=-2?10.D#-9.1 9-58
                         /;:A1=>-?5;:B5?4#-9.1=19;?5;:-:045>;<<;>5?5;:

  )1=A5/1             9-589-58>>1:??;-=4-5/;:?-5:5:3*)                              
                         /1=?525/-?5;:-:01/8-=-?5;:;2C45.5?>

  )1=A5/1             9-58)1:?19-58>?;;<<;>5?5;:=1)@.<1;:-=1/;=0>                          
                         ;2#-9.1-:0'!$=1/;=0>

  )1=A5/1            9-589-58>1:??;/851:?B5?4;??;:>$;?5;:2;=                     
                         )-:/?5;:-><1=?-5:>->>51/->1;??;:@>5:3->>51
                         /->12;=81A1=-315:?41<=59-=D85?53-?5;:

  )1=A5/1            (1/15A1(1A51B(1/51A10->>51$;?5;:2=;9/851:?                      

  )1=A5/1            (1/15A1(1A51B(1/51A1025=>?;=01=>2=;98-B>@5?                      

  )1=A5/1            (1/15A1(1A51B(1/51A1081??1=;2<=;;241-=5:3                           




                                                    '-31 ;2
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  )1=A5/1            (1/15A1(1A51B(1/51A10;=01=?;>4;B/-@>1                                

  )1=A5/1             (1/15A1(1A51B(1/51A10:;?5/1;22-C1>=1/15A10                           
                         2=;9#@101771

  )1=A5/1            9-58)1:?19-58>?;8@101771->75:32;=-88<81-05:3>                   
                         -:005>/;A1=D

  )1=A5/1            9-589-581C/4-:331B5?4/851:?B5?4<-<1=>                            
                         -??-/4105:>?=@/?5:3/851:??;?@=:5:

  )1=A5/1            =-2?'81-05:3->1/;91>?;/=5?5/-89->>5:%!B5?4                    
                         2585:3;2&=01=?;)4;B-@>1.D->>51>1175:3?;
                         =1>?=-5:*=;D-:0,1=:1=)59;:2=;905>.@=>5:3
                               =1A51B10-3-5:.-/73=;@:05:2;-:0.->5/
                         <81-05:3>5:/->10=-2?-:02581%;?5/1;2<<1-=-:/1
                         -:-8DE1:1C?>?1<>81??1=?;/;@=?>1175:3-06;@=:91:?
                         ;2&=01=?;)4;B-@>1

  )1=A5/1            9-58(1/15A10:;?5/1;2/-882=;9#@0177125=9                               

  )1=A5/1            =-2?$;?5;:=-2?$;?5;:?;,-/-?1!@0391:?                             
                         1/5>5;:/1=?525/-?5;:;2/851:?<=;<;>10&=01= 2585:3
                         -:0>1=A5/1;2>-91

  )1=A5/1            (1/15A1(1A51B(1A51B;2>?-9<10=1/51A102585:3>                       
                         2=;9/851:?

  )1=A5/1           (1/15A1(1A51B(1/15A10C45.5?2=;9/851:?                           

  )1=A5/1           (1/15A1(1A51B(1/15A10/;<D;2&<<;>5?5;:?;                              
                         ->>512=;9/851:?

  )1=A5/1           =-2?#1??1=)1:?81??1=?;!@031-:0;<<;>5?5;:?;                       
                         A-/-?1012-@8?

  )1=A5/1           (1/15A1(1A51B(1/15A10->>51)D>?19,-8@12;=                         
                         =1A51B    2=;9/851:?

  )1=A5/1           ,-=5;@>(1/15A1019-582=;9#@01771-.;@?                             
                         0-9-31> ;:21=10B5?4/851:? )1:?919;?;#@01771

  )1=A5/1            9-589-581C/4-:31B5?4/851:?;A1=>1??8191:?                          

  )1=A5/1             +:-::;?-?10*591                                                              

  )1=A5/1             9-589-581C/4-:31B5?4/851:?-:0#@101771;A1=                        
                         -06;@=:91:?0-?1

  )1=A5/1            9-589-581C/4-:31B5?4#@01771-:0;??;:2;=                          
                         -A-58-.810-?1>5:!@:1

  )1=A5/1            9-58;:?5:@1019-581C/4-:31B5?4#@01771-:0                           
                         ;??;:2;=-A-58-.810-?1>5:!@:12=;9    

  )1=A5/1            9-589-581C/4-:31B5?4-88/;@:>18>1??5:3@<                          
                         /;:21=1:/1/-88




                                                      '-31;2
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  )1=A5/1            9-589-58>2=;9#@01771?=D5:3?;25:-85E1                               
                         >1??8191:?

  )1=A5/1            9-58;:?5:@1019-581C/4-:31B5?4#@01771?=D5:3                         
                         ?;25:-85E1>1??8191:?2=;9    

  )1=A5/1            ,-=5;@>,-=5;@>B;=7?;05>95>>/->1-:0>1??81                            

  )1=A5/1           9-58,-=5;@>19-58>B5?4/851:?B;=75:3;@?                              
                         >1??8191:?

  )1=A5/1           9-589-582=;9/851:?=13-=05:3-:0B1=71=                               

  )1=A5/1           ,-=5;@>#1??1=?;!@031B5?4>1??8191:??181<4;:1/-88                   
                         ?;/;@=?

  )1=A5/1           9-589-58?;/851:?B5?481??1=?;!@031=13-=05:3                       
                         $;?5;:>

  )1=A5/1           9-589-581C/4-:31B5?4/851:?=13-=05:3->>51                         
                         595>>-8

  )1=A5/1            9-589-582=;9;??;:B5?4>53:10)?5<@8-?5;:;2                         
                         5>95>>-8

  )1=A5/1            9-58(1/15A10)?5<@8-?5;:;25>95>>-82=;9                               
                         #@101771

  )1=A5/1             9-58(1/15A10)53:10)1??8191:?3=1191:? 2=;9                           
                         #@101771

  )1=A5/1            9-589-582=;9#@101771?;;??;:-.;@?-A-58-.585?D                      

  )1=A5/1            *181<4;:1;:21=1:/181=7*?;*41=1>--?!@031                          
                         *=;:/;:1=1@3@>?41-=5:30-?10=-2?81??1=?;/;@=?

  )1=A5/1           =-2?$;?5;:=-2?;<<;>5?5;:?;;??;:>$;?5;:?;                      
                         -91:0?41"-48;:;9<8-5:?-:0=;>> 8-59-3-5:>?
                         )@:=-D813-8=1>1-=/4=18-?1-91:091:?>-:0/8-59>
                         -3-5:>?<=1A5;@>8D05>95>>10<-=?51>2585:3-:0>1=A5/1
                         B;=7/;<D?;#-9.1

  )1=A5/1            9-58-C=1/15A10-.;@?"-48;::;?.15:35:/;@=?                         
                         -:019-58=1><;:>1

  )1=A5/1            ;@=?1-=5:31-=5:3;:&=01=?;)4;B-@>1                             
                         >1175:3=1>?=-5:? &=01=?;)4;B-@>101:510 ;@=?
                         41-=5:3;:"-48;:>$;?5;:?;91:045>/;9<8-5:??;
                         -00/=;>> /8-59>-3-5:>?)@:=-D $;?5;:01:510 *=-A18
                         ?;-:02=;9

  )1=A5/1            (1/15A1(1A51B(1/15A10-<<1-=-:/1=1<;=?>                               

  )1=A5/1            (1/15A1(1A51B(1/15A181??1=2=;9;??;:B&=01=                         
                         01:D5:3;??;:>9;?5;:?;-91:0"-48;:>/;9<8-5:?
                         -:0?;/=;>> /8-59-3-5:>?)@:=-D

  )1=A5/1            9-58)1:?;=01=2;=->>51                                                




                                                     '-31;2
Case 2:24-cv-03552-RER-SIL                   Document 28-4 Filed 10/28/24 Page 100 of 131
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)1=A5/1             9-589-581C/4-:31B5?4/851:?-.;@?>@.<1;:-?;                   
                         ?1>?52D-??=5-8=1/15A102=;9;??;:

)1=A5/1             (1/15A1(1A51B(1/15A10#1??1==512;:14-82;2                  
                         121:0-:?

)1=A5/1              ;@=?1-=5:31-=5:3;:9;?5;:?;/;9<1801<;>5?5;:              
                         01<;>5?5;:01:5105:851@;29D-3=1191:??;<=1>1:?
                         #-9.12;=?1>?59;:D-??5-8

)1=A5/1              9-589-581C/4-:31B5?4/851:?-.;@?;??;:>=512               

)1=A5/1               9-589-582=;9;??;:/-:/1885:301<;>5?5;:                           

)1=A5/1              9-589-582=;9#@101771-:0?;/851:?-.;@?25=>?                       
                         B5=1<-D91:?

)1=A5/1              9-589-582=;9#@101771-:0?;/851:?-.;@?25=>?                       
                         B5=1<-D91:?/;:?5:@10

)1=A5/1              (1/15A1(1A51B(1/15A10:;?5/1;2-<<1-=-:/1                           

)1=A5/1             *181<4;:1;:21=1:/181=79-581C/4-:31B5?4                            
                         #@101771-.;@?25=>?B5=1<-D91:?

)1=A5/1             9-589-581C/4-:31B5?4;??;:-.;@?/851:?                        
                         -<<1-=5:3->B5?:1>>

)1=A5/1             ;@=?*=5-8;@=?-<<1-=-:/1?;<=1>1:?#-9.1-??=5-8            
                         -:0?;35A1?1>?59;:D->B5?:1>>B1>1??810B5?4
                         ->>5181:3?4DB-5?B5?4#-9.1

)1=A5/1             *181<4;:1;:21=1:/181=7,-=5;@>?181<4;:1/-88>                  
                         ?;*=;D;??;:-:0#@001/71=1*=;D?1>?59;:D5:/;@=?
                         ;: 

)1=A5/1             9-589-581C/4-:31B5?4/851:?-.;@?+                           
                         ?1=595:-?5;:

)1=A5/1               9-589-582=;9/851:?                                               

)1=A5/1               9-589-582=;9#@101771;:>1??8191:? (1<;=??;                      
                         /851:?

)1=A5/1               9-589-58?;/851:?                                                    

)1=A5/1              9-589-582=;9#@101771;:>1??8191:?>?-?@>                           

)1=A5/1               9-589-582=;9#@101771;:>1??8191:?>?-?@>                       
                         (1<;=??;/851:?

)1=A5/1               9-589-582=;9#@101771;:>1/;:0B5=1?=-:>21=                    

)1=A5/1               9-589-582=;9#@101771;:>1/;:0B5=1?=-:>21=                    

)1=A5/1              -:75:3$-718->?B5=12;=813-8211>                                

)1=A5/1              ,-=5;@>,-=5;@>/;99@:5/-?5;:>B5?4#@100171                        




                                                    '-31;2
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                         &/?;.1=?4=;@34%;A19.1= =1/8;>5:3-??;=:1D
                         211<-D91:?>019-:02;=2;=/8;>@=1;:>D>?19-:0
                         -<<1-8;29-5:/->19@8?5<81?181<4;:1/-88>B*=;D
                         .-:75:3B5=12@:0> ?;#@@00171

 )1=A5/1            9-589-582=;9#@101771/;:/1=:5:3>1??8191:?                                  
                         -3=1191:?

 )1=A5/1             9-589-58?;#@101771-.;@?>1??8191:? 9-58>                              
                         2=;9/851:?->75:3-.;@?:1C?>?1<>

 )1=A5/1             (1/15A1(1A51B(1/15A1081??1=2=;9#@101771                                

 )1=A5/1             9-589-581C/4-:31B5?4#@101771;A1=>?-?@>;2                                
                         -<<1-8

 )1=A5/1            9-589-581C/4-:31B5?4#@101771;A1=>?-?@>;2                             
                         -<<1-8

 )1=A5/1             9-589-582=;9#@101771-.;@?@<0-?1>;:/->1                                  

 )1=A5/1            9-589-582=;9#@101771-:0/851:?-.;@?@<0-?1>                               
                         ;:/->1

 )1=A5/1            9-589-58=1><;:>1>?;/851:?-.;@?19-58>2=;9                              
                         

 )1=A5/1             9-589-581C/4-:31B5?4/851:?=1#@10177119-58                          

 )1=A5/1              9-589-582=;9;<<;>5?5;:=1>1??8?191:?                                    

 )1=A5/1              9-589-582=;9;<<;>5?5;:=1>1??8?191:?                                    

 )1=A5/1             581(1A51B'1=5;05/2581=1A51B /->1-095:5>?=-?5A18D                         
                         /8;>10 :;-/?5A5?D.D;<<;>5?5;:


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    &-'# ,% )             , &              %',&+,               .% &+*  #-            $& ,

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                                                                             ,+*+&#&"$&           

                                                                        '+$ %',&+,+*+&#&"          




'81->19-71-88-9;@:?><-D-.81?;,1=:1=)59;:




                                                     '-31;2
 Case 2:24-cv-03552-RER-SIL   Document 28-4 Filed 10/28/24 Page 102 of 131
                                PageID #: 586             :A;5/1   




'-D91:?5>0@1@<;:=1/15<?




                                  '-31;2
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                                                                                                     
                                                                                                         !AIB<68 
                                                                                                      4G8    
                                                                                                     H8,CBA)868<CG
(%("$&%

+EBL$4@58
*HA)4L*B?4E !A6
*BHG;BB>FE<7:8)B47
"46>FBA &" 

    $*"&%

 $*"&%

  -'       *                            )("'*"&%                           +%*"*-      *        &*#

*8EI<68         )868<I8)8I<8J)868<I87FH@@BAF4A7                                           
                       F6E88AF;BGF9EB@6?<8AG?8A:G;LG8?8C;BA864??J<G;
                       6?<8AGG8?8C;BA864??GBC?4<AG<99F6BHAF8?9B??BJHC
                       8@4<?F4??6BHAF8?4A76?<8AGE868<I874A7E8I<8J87
                       F6E88AF;BGFB9+EBLFJ85C4:8FG8?8C;BA864??GB+EBL
                       E84??8:4G<BAFB96E<@<A4?6BAI<6G<BA

*8EI<68         E49GE<89)8F84E6;4A77E49G6HEE8AGFG4GHFB9G;8?4J                        
                       E87894@4G<BA ?<58?4A7F?4A78E@4<?8K6;4A:8J<G;
                       6?<8AG45BHGG;BH:;GF4A7A8KGFG8CFB964F8

*8EI<68         @4<?@4<?9EB@6?<8AGJ<G;;<FG;BH:;GF4A7JE<GG8A                             
                       7<F6?4<@8EF4A4?LM8F4@8G8?8C;BA864??J<G;6?<8AG

*8EI<68          @4<?@4<?8K6;4A:8J<G;6?<8AG45BHG6?<8AGF9<EFG                              
                       >ABJ?87:8B9FH@@BAF9EB@   

*8EI<68         )868<I8)8I<8J)868<I87ABG<68B99<?<A:F9EB@                               
                         

*8EI<68         )868<I8)8I<8J@4<?8K6;4A:8J<G;6?<8AG45BHG                                 
                       &BG<68B9)8@BI4?4A7<I<?BI8E*;88G

KC8AF8         BHEG988F<?<A:988&BG<68B9)8@BI4?GB                                   
                       9878E4?6BHEG

*8EI<68         E49G(?847<A:E49G&BG<68B9)8@BI4?B964F8GB                               
                       9878E4?6BHEGG8?8C;BA864??FJ<G;+EBLE8F84E6;
                       6BA9?<6GB9?4JF&0I&"

*8EI<68         )868<I8)8I<8J)86<8I87ABG<68B99<?<A:F9BE&BG<68                            
                       B9)8@BI4?9EB@   

*8EI<68         )8F84E6;$8:4?E8F84E6;BA6HEE8AGF?4A78E4A7?<58?                             




                                                   (4:8B9
Case 2:24-cv-03552-RER-SIL                  Document 28-4 Filed 10/28/24 Page 104 of 131
                                              PageID #: 588             !AIB<68    




                       64F8?4JFC86<4?74@4:8FE8DH<E8@8AG7894@4G<BA5L
                       J85F<G8CBFG<A:F8G6 4G;8E64F8?4J4A7FH@@4E<M8
                       <AEBH:;7E49G@8@B9BE@

*8EI<68         )868<I8)8I<8J@4<?J<G;6?<8AG45BHGF6;87H?<A:                 
                       6BA98E8A68

*8EI<68         )868<I8)8I<8J)868<I877B6H@8AGF9EB@                          
                       BCCBF<G<BA %BG<BAGB)8@4A7GB*G4G8BHEG )8I<8J
                       4A7BHG?<A8F4@8

*8EI<68         )868<I8)8I<8J)86<8I87ABG<68B99<?<A:+/+                    
                       ')) +;8!A<G<4?EH?86BA98E8A68F6;87H?879BE
                       85EH4EL  589BE8%4:<FGE4G8"H7:8+BA<4AA8
                       " BA:<BI4AA<<F47=BHEA87J<G;ABA8J74G8 (4EG<8F
                       4E8GBABG<9LG;8BHEGHCBA786<F<BAB9G;8C8A7<A:
                       @BG<BAGBE8@4A7 *B'E78E875L%4:<FGE4G8"H7:8
                       +BA<4AA8" BA:<BI4AA< @@*8G847?<A8F4FGB12
                       %'+!'&GB)8@4A7 %BG<BAF8G9BE   589BE8
                       "H7:8E<4A) %4EG<ABGG< ,A?8FFBG;8EJ<F87<E86G875L
                       G;8BHEG G;<F@BG<BAJ<??58786<787BAG;8C4C8EF4A7
                       AB4CC84E4A68F4E8E8DH<E87 &BG8G;4GG;<F<F4A
                       4HGB@4G<64??L:8A8E4G87@8FF4:89EB@G;8?8E>3F
                       '99<684A77B8FABGFHC8EF8784ALCE8I<BHFBE
                       FH5F8DH8AGBE78EF9EB@G;8BHEG >@

*8EI<68           @4<?@4<?GB#?8<A45BHGE868<I<A:@BG<BACEBCBF87              
                       6BAF8AGGBE8@4A7<A8K6;4A:89BEJ<G;7E4J4?B9
                       4GGBEA8LF988E8DH8FG ++EBL

*8EI<68           E49G$8GG8EE49G?8GG8EGB6BHEGE847=BHEABCCBF<G<BA           
                       74G8B9@BG<BA9<?8J<G;6BHEG

*8EI<68           @4<?@4<?8K6;4A:8J<G;4GGBEA8L#?8<AF88>                     
                       6BAF8AGGB47=BHEA4A7E8A8J6BAF8AGE8@4A7<FFH8
                       #?8<AE8=86GF5BG;CEBCBF4?F

*8EI<68           )868<I8)8I<8J)868<I87ABG<68B99<?<A:'E78E                    
                       :E4AG<A:@LE8DH8FGBA5E<89<A:74G8F

*8EI<68          E49G%BG<BAE49GBCCBF<G<BAGB%BG<BAGB)8@4A79<?8           
                       4A7F8EI<68B9F4@8

*8EI<68          )868<I8)8I<8J)868<I87)8C?LE<89BA%BG<BAGB                
                       )8@4A74A4?LM8@8@BGB9<?8

*8EI<68           @4<?@4<?8K6;4A:8J+EBLE8&B)8G4<A8EA88787                 
                       @BG<BAGBE8@4A74A7BG;8E<FFH8F

*8EI<68          )868<I8)8I<8J)868<I87'E78E:E4AG<A:)8@4A7                   
                       5HG78AL<A:E8DH8FG9BE4GGBEA8LF988FE8CBEGGB+EBL
                       @8@BGB9<?8

*8EI<68          @4<?@4<?GB+EBL                                                 

*8EI<68          )868<I8)8I<8J)868<I87ABG<68B99<?<A:B9)8@4A7               
                       GB*G4G8BHEG8@4<?8K6;4A:8J<G;4GGBEA8L#?8<A
                       45BHGJ;8G;8E#4;?BA<F<A!FE48?8G6 4A7*




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                          =H7:@8AG8K6;4A:8J+EBL

*8EI<68             @4<?@4<?FGB+EBL4A7BCCBF<G<BA45BHG7<F@<FF4?                   

*8EI<68              @4<?@4<?GBBCCBF<G<BA                                              

*8EI<68              @4<?)868<I87ABG<68B99<?<A:                                        

*8EI<68             @4<?)868<I87ABG<68B99<?<A: *G<CH?4G<BA-464G<A:                
                          894H?G

*8EI<68             @4<?@4<?8K6;4A:8J<G;6?<8AG45BHG#?<8AC?847<A:                 

*8EI<68             E49G%BG<BAE49G%BG<BAGB<F@<FFG;8894@4G<BA                  
                          64F8E8F84E6;8EG<9<64G<BAB9$4@58CEBCBF87'E78E
                          9<?<A:4A7F8EI<68B9F4@8

KC8AF8             BHEG988FBHEG9<?<A:988 'HE%BG<BAGB                       
                          <F@<FF

*8EI<68              @4<?@4<?8K6;4A:8J<G;6?<8AGF88><A:6BEE86G                     
                          I8EF<BAB9J85F<G8CEB7H6G<BAE868<I84A7E8I<8J
                          4@8A7@BG<BAC4C8EFF86BA7F8E<8FB9GE4AF@<FF<BAF
                          9EB@+EBLE8I<8JF4@8

*8EI<68              @4<?)868<I87ABG<68B99<?<A: 64?8A74E74G89BE                    
                          4E:H@8AG 64?8A74EF4@8

*8EI<68              @4<?@4<?8K6;4A:8J<G;#?8<A8@4<?J+EBLE8                      
                          E8@BI<A:B998A7<A:?4A:H4:8GB8?<@<A4G86BAG<AH<A:
                          CH5?<64G<<BA6?4<@F

*8EI<68             )868<I8)8I<8J)8I<8JBCCBF<G<BAC4C8EFBABHE                     
                          %BG<BAGB<F@<FFBHG?<A84E:H@8AGFEBH:;7E49G
                          )8C?L

*8EI<68             @4<?8@4<?8K6;4A:8J<G;#?8<A45BHGE8F6;87H?<A:                   
                          E8I<8J8747=BHEA@8AGE8DH8FG 8@4<?8K6;4A:8J<G;
                          $4@58E8F<:A<A:68EGBCCBF<G<BAB9@BG<BA )868<I87
                          <AFGEH6G<BA9EB@"H7:8.8??8EFBA7E49G?8GG8EGBBHEG
                          9B??BJHC

*8EI<68             E49G%BG<BA<A4?7E49GB9E8C?LC4C8EFBHE%BG<BAGB               
                          <F@<FF9<?84AF7F8EI8F4@8 @4<?8K6;4A:8J<G;
                          >?8<AE8?8GG8EGB6BHEG

*8EI<68             @4<?@4<?8K6;4A:8J<G;+8E8?E847=BHEA@8AG9BE                   
                          E<74L )8I<8J87ABG<68B99<?<A:B947=BHEA@8AG5L
                          BHEGGB 

*8EI<68             @4<?8@4<?GB6?<8AGE8BCCBF<G<BAB9@BG<BA                         

*8EI<68            BHEG%BG<BABHEG4CC84E4A68"H7:8.8??8EFBA                        
                          '684ABHAGLGB4E:H8BHE%BG<BAGB<F@<FF"H7:8
                          @478C4EG<8F8A:4:8<AF8GG?8@8AGG4?>FJ4AGF4??
                          6?<8AGFG;8E8BA868@58E 9BEF8GG?8@8AG
                          6BA98E8A68.&+*+ !**'&+E4I8?GB4A7
                          9EB@




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*8EI<68         @4<?8@4<?8K6;4A:8J<G;6?<8AGE87894@4G<BA64F8               
                       E8@<A78E

*8EI<68          @4<?@4<?9EB@6?<8AGE894FG877<8                              

*8EI<68          )868<I8)8I<8J)868<I84A7E8I<8J8@4<?9EB@+EBL               
                       E8B5=86G<BAFGBF8GG?8@8AG6BA98E8A689BE  
                       G8?8C;BA864??GB#?8<AE8#4;?BAF4CC84E4A687E49G
                       ?8GG8EGB"H7:8.8??8EFBAE86BA98E8A684CC84EF9HG<?8
                       4A7E8DH8FG47=BHEA@8AGJ<G;BHG74G8E868<I8#?8<AF
                       ?8GG8EFG4G<A:;8J<??4CC84EJ6?<8AGBAG8?8C;BA8
                       G8?8C;BA864??FGB4A79EB@GEBL

*8EI<68          @4<?@4<?8K6;4A:8J<G;6?<8AG4A7BCCBF<G<BAE8                
                       78A<8747=BHEA@8AGE8DH8FG

*8EI<68          @4<?@4<?FGB 9EB@6?<8AGE8?<6>@4A                           

*8EI<68          @4<?8@4<?8K6;4A:8J<G;?<6>@4A4A76?<8AGE8                 
                       F8GG?8@8AG6BA9

*8EI<68          BHEG*8GG?8@8AG4??*8GG?8@8AG6BA98E8A68J<G;                   
                       "H7:8.8??8EFBA6?<8AGFBAG;8C;BA8?<6>@4A
                       4CC84E876BA98E8A68;8?7.8??8EFBA@478HF
                       J<G;7E4J%BG<BAGB<F@<FFFG4G<A:<GJ<??A8I8E58
                       :E4AG87F8GG?8@8AG6BA98E8A686BAG<AH87+EBLF8GG?87
                       9BE      CBFG6BA98E8A68JBE>J<G;6?<8AG

*8EI<68         )868<I8)8I<8J)868<I8F8GG?8@8AG4:E88@8AG9EB@                
                       #?8<AE8I<8J4A787<G

*8EI<68         @4<?@4<?FGB 9EB@BCCBF<G<BAE8F8GG?8@8AG                     
                       4:E88@8AG

*8EI<68         @4<?@4<?9EB@BCCBF<G<BAE8F8GG?8@8AG                           

*8EI<68           @4<?8@4<?8K6;4A:8J<G;6?<8AGE8F8GG?8@8AG                    
                       C4L@8AG

*8EI<68          @4<?@4<?8K6;4A:8J<G;6?<8AGE8F8GG?8@8AG                    
                       C4L@8AG4A7*

*8EI<68          @4<?8@4<?8K6;4A:8J<G;BCCBF<G<BAE8F8GG?8@8AG                 
                       .GB6?<8AG

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 Case 2:24-cv-03552-RER-SIL                     Document 28-4 Filed 10/28/24                      Page 110 of 131
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                                                                                                  INVOICE
                                                                                                      Invoice # 237
                                                                                                   Date: 01/05/2020
                                                                                                  Due Upon Receipt
Verner Simon

Troy Lambe
SunRay Solar, Inc.
546 South Cooks Bridge Road
Jackson, NJ 08527

982.010B Yitzhak Defense

982.010B Yitzhak Defense

  Type       Date                             Description                           Quantity    Rate      Total

 Service   03/11/2016   Email: Email exchange with Yitzhak re Kahlon                   1.70     $350.00   $595.00
                        informing her he will be suing. Draft responsive email;
                        and draft letter for Yitzhak to Kahlon, telephone to
                        Brett Scher, report to Lambe

 Service   03/14/2016   Receive & Review: Reviewed email from Yitzhak to               0.30     $350.00   $105.00
                        Kahlon. Re: legal action against Yitzhak and naming of
                        attorney; telephone call to Lambe

 Service   03/23/2016   Receive & Review: Received notice of filing. Summons           0.20     $350.00    $70.00
                        and complaint of Yitzhak from Kahlon

 Service   03/28/2016   Email: Lengthy email exchange with Yitzhak over                2.10     $350.00   $735.00
                        Kahlon summons and complaint served on her; emails
                        back and forth re original client file; review complaint;
                        discuss same with Lambe

 Service   04/05/2016   Email: Email exchange with Yitzhak about location of           0.80     $350.00   $280.00
                        original file; discussed of Kahlon and his direction

 Service   04/06/2016   Email: Continued emails with Yitzhak and Mike                  1.70     $350.00   $595.00
                        DeSantis for whereabouts of original file. CC to Lambe

 Service   04/07/2016   Email: Email exchange with client with Fed Ex bill for         0.20     $350.00    $70.00
                        discovery.

 Expense   04/07/2016   E107 Delivery services/messengers                              1.00      $34.00    $34.00

 Service   04/10/2016   Email: Email exchange with Yitzhak re: call and when           0.40     $350.00   $140.00
                        answer will be e filed

 Service   04/12/2016   Email: Email exchange with client about extension of           0.40     $350.00   $140.00
                        time of answer. Have Yitzhak read over privilege log




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                       and review draft letter to 3 financiers in NJ from Lambe
                       case

Service   04/13/2016   Email: Email exchange with Bock about stipulation.            0.40   $350.00    $140.00
                       Reviewed executed Stip from Bock.

Service   04/14/2016   Receive & Review: Received notice of filing stipulation       0.10   $350.00     $35.00
                       re Answer

Service   04/18/2016   Receive & Review: Reviewed Atlas Letter drafts from           0.70   $350.00    $245.00
                       Yitzhak.

Service   04/19/2016   Receive & Review: Recieved notice of                          0.20   $350.00     $70.00
                       filing(Stipulation-Time to Answer)

Service   04/25/2016   Draft: Draft and file Removal Petition; conflict letter       3.80   $350.00   $1,330.00
                       and acknowledgement of service

Service   04/28/2016   Draft Pleading: Drafted Answer to Complaint plus third        4.90   $350.00   $1,715.00
                       party pleadings against Lambe/Sunray for declaratory
                       judgment; purpose to create diversity and federal case
                       jurisdiction to get cases back in front f Judge Wexler;
                       discussions with Lambe and Yitzhak re same. Efiling
                       of third party pleadings and service of same.

Service   05/03/2016   Receive & Review: Recieved notice of filing.(Answer,          0.30   $350.00    $105.00
                       Complaint and Summons (Pre Riji) (Amended)) Filed
                       by Verner.

Service   05/04/2016   Email: Sent pleadings to Lambe. Discussion of next to         0.40   $350.00    $140.00
                       come and talk of Sunray.

Service   05/04/2016   Receive & Review: Received notice of removed docs.            0.20   $350.00     $70.00
                       (Complaint and Summons)

Service   05/17/2016   Receive & Review: Recieved notice of consent                  0.10   $350.00     $35.00

Service   05/23/2016   Receive & Review: Recieved notice of filings.                 0.10   $350.00     $35.00
                       (PRELIMINARY CONFERENCE REQUEST
                       AFFIRMATION/AFFIDAVIT OF SERVICE RJI -RE:
                       REQUEST FOR PRELIMINARY CONFERENCE)

Service   05/27/2016   Email: Email from Yitzhak asking about plan.                  0.20   $350.00     $70.00

Service   06/21/2016   Draft Letter: Draft conflict of interest letter and sent to   2.30   $350.00    $805.00
                       clients for review.

Service   06/21/2016   Draft acknowledgment of service for Troy Lambe                0.20   $350.00     $70.00

Service   06/21/2016   Email: (21) Various and from clients re: initial DMC          1.50   $350.00    $525.00
                       assigment notice, Lambe letter of acknowledgemet,
                       third party summons, conflict letter signed,

Service   06/21/2016   Email: Correspondence sent from Lambe.                        0.60   $350.00    $210.00

Service   06/22/2016   Email: Various emails (10) to and from clients re:            1.40   $350.00    $490.00
                       Notice of removal letter pt.1, pt2. pt3, Conflict letter
                       signed TL-1 signed by Yitzhak,




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Service   06/23/2016   Email: Various emails (12) to and from clients re:        1.50   $350.00    $525.00
                       Affirmation of Service, Settlement agreement, Nassau
                       Complaint pt1, pt2, pt3,

Service   06/23/2016   EF: Efiling of various papers re Notice of Removal;       0.90   $350.00    $315.00
                       telephone call to clerk

Service   06/28/2016   Email: Various to and from clients re: Conference is to   1.10   $350.00    $385.00
                       occur in the removed Kahlon v. Yitzhak case, Review
                       order reassigning case for Judge Wexler.

Service   06/30/2016   Email: Various to and from clients re: goals and          0.70   $350.00    $245.00
                       strategies for Yitzhak malpractice case, report to
                       clients after court.

Service   07/01/2016   Court Hearing: Court appearance post removal before       6.50   $350.00   $2,275.00
                       Judge Wexler in federal court for a status conference.
                       Wexler set briefing schedule on Motion to Remand to
                       be filed by Kahlon. Includes travel to Central Islip.

Service   07/05/2016   Email: Received notice of filing. (Minute Entry for       0.60   $350.00    $210.00
                       proceedings held before Judge Leonard D. Wexler:
                       Status Conference held on 7/1/2016. Plaintiff(s)
                       represented by Jennifer J. Bock, Esq. Defendant(s)
                       represented by Paul W. Verner, Esq. Plaintiff is
                       permitted to move to remand this action to State Court
                       in accordance with the following briefing schedule:
                       initial papers shall be served by August 1, 2016;
                       opposition papers shall be served by September 6,
                       2016; reply papers shall be served by September 16,
                       2016. In accordance with the Court's rules, all papers
                       shall befiled, via ECF, on the reply date of September
                       16, 2016, with courtesy copies provided to Chambers
                       by the movant. Proceedings concluded. (Court
                       Reporter Paul Lombardi.) (Russo, Eric) Notice of
                       Appearance by Joeckel

Service   07/11/2016   Email: Email exchange with Yitzhak re: Kahlon and         0.90   $350.00    $315.00
                       court on Friday July 1 (7/10-7/11)

Service   07/20/2016   Receive & Review: Received notice of change of            0.40   $350.00    $140.00
                       contact information by Joeckel.

Service   08/01/2016   Email: Various to and from clients and opposing           0.50   $350.00    $175.00
                       attorney re: Motion for Remand and an Award of
                       Attorneys’ Fees, Memorandum of Law.

Service   08/01/2016   Receive & Review: Received discovery from Joeckel.        1.70   $350.00    $595.00
                       (remand Motion cover Letter, Declaration remand,
                       Exhibits, Remand memo, Not Mot Remand) All PDF
                       copies, hard copies follow

Service   09/06/2016   Email: Various to and clients and opposing attorney re:   0.60   $350.00    $210.00
                       request opposition to serve remand motion, Extension
                       of Time to File Response/Reply to Motion for Remand
                       by Troy Lambe, Order granting [158] Motion to




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                       Adjourn Conference. The proceeding scheduled for 9/
                       7/16 is adjourned to 9/21/16 at 10:30 a.m,

Service   09/07/2016   Email: Received notice of filing.(Motion for Extension      0.50   $350.00    $175.00
                       of Time, Response of Opposition, Order granting
                       Motion extending time.) 9/6-9/7

Service   09/08/2016   Draft Motion: Draft opposition on motion to remand;         4.00   $350.00   $1,400.00
                       legal research

Service   09/14/2016   Email: Various to and from clients and attorney re:         0.50   $350.00    $175.00
                       Declaration in Opposition to the Kahlon Plaintiffs’
                       Motion to Remand, and uptades

Expense   09/19/2016   E107 Delivery services/messengers: Federal Express          1.00    $67.29     $67.29
                       - copies of briefs to Kahlon's attorney for filing.

Service   10/07/2016   Email: Various to and from clients and opposing             0.60   $350.00    $210.00
                       attorney, re: Various motions, declaration and...to stay/
                       go to federal court

Service   06/27/2017   Telephone Conference Client: Telephone call from            0.20   $350.00     $70.00
                       Yitzhak re status

Service   06/27/2017   Email: Email exchange with client about status.             0.40   $350.00    $140.00

Service   09/01/2017   Receive & Review: Receive Order remanding case to           1.20   $350.00    $420.00
                       Judge Drisscoll; analysis- discussion with clients;
                       emails

Service   09/06/2017   Receive & Review: Receive Wexler's Order remanding          0.70   $350.00    $245.00
                       case to state court; email to clients re: same

Service   09/08/2017   Email: Email exchange with Lambe re:Wexler Remand           0.90   $350.00    $315.00
                       to Nassau: attorneys fees, and future decisions on
                       Yitzhak. Same conversation with Yitzhak

Service   09/13/2017   Telephone Conference Client: Telephone conference           0.40   $350.00    $140.00
                       E Yitzhak

Service   09/21/2017   Research: Researched the prior action against               4.30   $350.00   $1,505.00
                       DeSantis filed by Kahlon and the decision dismissing
                       same; pull all court papers; read and analyze same

Service   09/25/2017   Research: Research Justice Parga, DeStefano and             3.10   $350.00   $1,085.00
                       Driscoll; notes to file

Service   09/26/2017   Receive & Review: Received notice of filing. Letter/        0.10   $350.00     $35.00
                       Correspondence to Judge

Service   10/02/2017   Draft Motion: Draft motion to transfer and consolidate      4.80   $350.00   $1,680.00
                       the remanded Yitzhak Defense case with the Kahlon
                       Shotgun case; various conference calls with the
                       attorneys for Scher and DeSantis

Service   10/03/2017   Receive & Review: Received notice of filing. Letter/        0.10   $350.00     $35.00
                       Correspondence to Judge, Exhibits A-H




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Service   10/04/2017   Receive & Review: Received notice of filing. Letter to    0.20   $350.00     $70.00
                       Judge, and ewatch alert :The Clerk's docket
                       comments concerning this case have been updated to
                       the following: CASE REMANDED BACK TO NASSAU
                       COUNTY SUPREME COURT BY LEONARD D.
                       WEXLER, UNITED STATES DISTRICT COURT.

Service   10/04/2017   Receive & Review: Receive opposition to my motion to      1.80   $350.00    $630.00
                       transfer and consolidate; note for reply

Service   10/05/2017   Receive & Review: Received notice of filing.              0.80   $350.00    $280.00
                       (Judgement for Attorneys Fees)hat plaintiffs Yossef
                       Kahlon and Atlas Solar Holdings request for attorneys
                       fees is granted; and that judgment is hereby entered
                       for plaintiffs Yossef Kahlon and Atlas Solar Holdings,
                       LLC and against defendants/third-party plaintiffs Erica
                       T. Yitzhak, The Law Offices of Erica T. Yitzhak, and
                       Erica T. Yitzhak Esq., P.C., and third-party defendants
                       Troy Lame and Sunray Solar, Inc., jointly and
                       severally, in the amount of $9,268.00. (Executed by:
                       James J. Toritto, Deputy Clerk, on September 8, 2017)
                       (Fagan, Linda) (Main Document 17 replaced on 10/5/
                       2017) (Fagan, Linda); forward judgment with note to
                       Lambe.

Service   10/06/2017   Receive & Review: Received ewatch alert re: n             0.20   $350.00     $70.00
                       November 9, 2017, an appearance is scheduled
                       before Judge ANTHONY L. PARGA in ANTHONY L.
                       PARGA (PC PART). The following additional
                       comments exist: 9:30.

Service   10/06/2017   Draft Motion: Draft Reply motion papers transfer and      2.10   $350.00    $735.00
                       consolidate cases

Service   10/12/2017   Receive & Review: Received notice of filing. Notice of    1.80   $350.00    $630.00
                       Motion to disqualify Verner and VS from representing
                       Yitzhak; review and outline Affirmation in Support of
                       Motion and Exhibits A-I; notify clients

Service   10/14/2017   Receive & Review: Email from Lambe asking about           0.30   $350.00    $105.00
                       appearance.

Service   10/17/2017   Draft Motion: Draft letter motion seeking transfer of     2.00   $350.00    $700.00
                       case to Judge Driscoll

Service   10/18/2017   Receive & Review: Email with client edits of Judge        0.30   $350.00    $105.00
                       Adams second request transfer doc

Service   10/18/2017   Receive & Review: Double check motion to disqualify       1.00   $350.00    $350.00
                       Verner Simon and ethics rule used; memo to file re
                       opposition

Service   10/23/2017   Research: Researched local counsel possibilities;         4.20   $350.00   $1,470.00
                       analysis of the need for local attorneys; emails and
                       telephone calls to clients re: engagement of local
                       counsel; obtained authority; telephone call to David




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                       Zwerling re same; telephone calls and emails to
                       Charlie Horn; obtain retainer agreements.

Service   10/24/2017   Email: Email exchange with clients, Friedman, and          0.90   $350.00    $315.00
                       Zwerling about adding Friedman to case. Sent Second
                       Conflict Letter to both clients to review and execute to
                       send back.

Service   10/25/2017   Research: Legal research for Opposition to Motion to       3.90   $350.00   $1,365.00
                       Disqualify Verner Simon.

Service   10/26/2017   Receive & Review: Received notice of filing.               0.80   $350.00    $280.00
                       (Affirmation in Opposition, Request to Transfer,
                       Second Circuit Appeal, Federal Settlement and
                       Discontinuance, Stipulated, Discontinuance of Third
                       Party Complaint. Request to Transfer, Second Circuit
                       Appeal, Federal Settlement and Discontinuance,
                       Stipulated Discontinuance of Third Party Complaint.
                       Affidavit of Service, Notice of Appearance,

Service   10/26/2017   Draft Motion: Draft opposing papers Motion to              5.30   $350.00   $1,855.00
                       Disqualify Verner Simon; efile same.

Service   10/30/2017   Email: Emails to Horn and Zwerling about engagement        0.40   $350.00    $140.00
                       and money and being Disqualified by court without
                       transfer to Destefano

Service   10/30/2017   Draft Pleading: Draft discontinuation and dismissal of     1.60   $350.00    $560.00
                       the Yitzhak v Lambe declaratory judgment action;
                       efiling and related service

Service   10/31/2017   Email: Ewatch alert re: change of Judge to Destefano.      0.60   $350.00    $210.00
                       Email exchange about change of judge with clients.

Service   11/01/2017   Receive & Review: Receive and review reply papers          1.30   $350.00    $455.00
                       Motion to Disqualify Verner Simon; efile same.

Service   11/02/2017   Receive & Review: Notice of scheduled appearance.          0.10   $350.00     $35.00

Service   11/05/2017   Receive & Review: Sent Bad Faith letter to Bock and        0.30   $400.00    $120.00
                       Joeckel.

Service   11/06/2017   Receive & Review: Email exchange with Horn                 0.30   $400.00    $120.00
                       scheduling call.

Service   11/07/2017   Receive & Review: Letter from Bock about                   0.30   $400.00    $120.00
                       rescheduling prelim coneference.

Service   11/08/2017   Receive & Review: Recieved Ewatch alert. Re                0.20   $350.00     $70.00
                       appearance held and marked the motion
                       ADJOURNED with the following additional comments:
                       EFILED MOTION,3PGS 10/12/17 TO ALP.

Service   11/08/2017   Email: Email exchange with Bock about date for prelim      0.20   $350.00     $70.00
                       conference.

Service   11/13/2017   Email: Email exchange with Lambe about retainers.          0.40   $350.00    $140.00




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Service   11/20/2017   Email: Email from Clerk Kirkland confirming                 0.20   $350.00     $70.00
                       rescheduling of Prelim conference.

Service   12/08/2017   Email: Notice of scheduled appearence.                      0.20   $350.00     $70.00

Service   12/14/2017   Court: Court appearance to argue various motions            6.00   $350.00   $2,100.00
                       before Justice DeStefano; Draft discontinuation and
                       dismissal of the Yitzhak v Lambe declaratory judgment
                       action; efiling and related service

Service   12/14/2017   Court: Court appearance to argue various motions            6.00   $350.00   $2,100.00
                       before Justice DeStefano; Kahlon Shotgun; Yitzhak
                       Defense and Disqualify Verner

Service   01/16/2018   Court Hearing: Preliminary conference Yitzhak               6.20   $350.00   $2,170.00
                       Defense; travel to and From Nassau Supreme

Service   01/22/2018   Receive & Review: recieved notice of filing(order           0.20   $350.00     $70.00
                       prelim conference)

Service   01/23/2018   Email: Email from client                                    0.20   $350.00     $70.00

Service   02/07/2018   Email: Email to and from client about update                0.20   $350.00     $70.00

Service   02/08/2018   Email: Email exchange with client about report              0.40   $350.00    $140.00

Service   02/16/2018   Email: Emails from Yitzhak about location of client files   0.20   $350.00     $70.00

Service   02/17/2018   Email: Email exchange with Yitzhak about email her          0.40   $350.00    $140.00
                       files

Service   02/18/2018   Email: Email exchange with Yitzhak about email files        0.40   $350.00    $140.00

Service   02/23/2018   Email: Email exchange with Yitzhak about thumb drive        0.80   $350.00    $280.00
                       and status of case

Service   02/24/2018   Email: Email from Yitzhak's former defense attny re         0.20   $350.00     $70.00
                       client files

Service   02/25/2018   Email: Email exchange with Yitzhak about email              0.50   $350.00    $175.00
                       received 02/24

Service   02/28/2018   Email: Received stip from Joeckel and sent emails           0.60   $350.00    $210.00
                       discussing stip

Service   03/05/2018   Receive & Review: Received plaintiffs demand for            0.30   $350.00    $105.00
                       production of documents from law office; note to file

Service   03/08/2018   Receive & Review: Receive and review discovery              0.30   $350.00    $105.00
                       demands from Kahlon; cursory review; calendar same
                       for handling

Service   03/08/2018   Draft Discovery: Draft responses to Kahlon discovery        4.80   $350.00   $1,680.00
                       demands; document production; Bates stamping;
                       review of prior litigation file; to be continued




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Service   03/15/2018   Receive & Review: Receive and review Dropbox files -    5.40   $350.00   $1,890.00
                       responses from Kahlon to our discovery demands;
                       general review Kahlon docs for completeness

Service   03/20/2018   Draft Discovery: Final draft responses to Kahlon        6.50   $350.00   $2,275.00
                       discovery demands; document production; Bates
                       stamping; review of prior litigation file.

Service   04/05/2018   Email: Received emails from client and Kirkland         0.30   $350.00    $105.00

Service   04/06/2018   Email: Email from client and received notice of         0.30   $350.00    $105.00
                       appearance

Service   04/11/2018   Telephone Conference Court: Conference call with law    0.50   $350.00    $175.00
                       clerk and counsel- set conference for 4/30/2018.

Service   04/11/2018   Receive & Review: Received notice of filing (decision   0.10   $350.00     $35.00
                       and order on motion)

Service   04/23/2018   Email: email exchange with Yitzhak about producing      0.90   $350.00    $315.00
                       emails for discovery

Service   04/25/2018   Email: email exchange with Yitzhak and opposition       0.40   $350.00    $140.00
                       about producing emails for discovery

Service   04/26/2018   Email: email exchange with Yitzhak and Troy about       0.90   $350.00    $315.00
                       producing emails for discovery

Service   04/26/2018   Receive & Review: received minute entries               0.20   $350.00     $70.00

Service   04/27/2018   Receive & Review: email exchange with Yitzhak about     0.70   $350.00    $245.00
                       attorney referral and emails

Service   04/30/2018   Email: email exchange with client about debriefing      0.40   $350.00    $140.00
                       emails

Service   05/01/2018   Email: Emails with client about receiving discovery     0.40   $350.00    $140.00

Service   05/03/2018   Receive & Review: Received discovery emails for         1.00   $350.00    $350.00
                       Yitzhak for review

Expense   05/04/2018   E110 Out-of-town travel: AMTRAK - LI COURT              1.00   $165.00    $165.00
                       CONFERENCE

Expense   05/04/2018   E110 Out-of-town travel: HOTEL - LI COURT               1.00   $364.37    $364.37
                       CONFERENCE

Service   05/04/2018   Court Hearing: Hearing on Remanded Case/ status         6.10   $175.00   $1,067.50
                       conference 1/2 Rate appeared on both cases

Service   05/06/2018   Email: emails to Troy re Yitzhak defense                0.30   $350.00    $105.00

Service   05/07/2018   Email: emails to client about settlement agreement      0.60   $350.00    $210.00
                       and thumb drive

Service   05/14/2018   Email: email exchange client about confirmation of      0.40   $350.00    $140.00
                       received thumb drive




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Service   06/04/2018   Email: email exchange with Charles Horn about                  0.40   $350.00    $140.00
                       conference

Service   06/05/2018   Email: email exchange with client and Troy about               0.90   $350.00    $315.00
                       discovery and emails

Service   06/06/2018   Email: Sent docs to Horn for conference. Non                   2.00   $350.00    $700.00
                       privileged docs. Yitzhaks file produced in Fed Case

Service   06/06/2018   Discovery: Detailed review over 2 days (June 5 and            12.00   $350.00   $4,200.00
                       June 6) of the Lambe v. Kahlon litigation file for
                       production in discovery; detailed review of Yitzhak
                       client file for Kahlon for production; convert all files to
                       new Adobe docs with bates stamps; uploading of
                       same to Dropbox for production to Kahlon's counsel

Service   06/07/2018   Email: Email exchange for setting conference date              0.30   $350.00    $105.00

Service   06/07/2018   Receive & Review: received notice of filing                    0.30   $350.00    $105.00

Service   06/08/2018   Email: Email exchange for setting conference date              0.40   $350.00    $140.00

Service   06/24/2018   Email: Email exchange with client and Horn discussing          0.70   $350.00    $245.00
                       Kahlon pressure

Service   07/10/2018   Email: Email for Kirkland                                      0.10   $350.00     $35.00

Service   07/11/2018   Receive & Review: received notice of filing. Decision          0.20   $350.00     $70.00
                       and Order on Motion, notice of Entry

Service   07/11/2018   Receive & Review: Receive and review Justice                   0.70   $350.00    $245.00
                       DeStefano's Decision Denying Verner disqualification;
                       analyze decision and potential for dismissing local
                       attorneys; emails to clients re same.

Service   07/16/2018   Email: Email from Clerk Kirkland with compliance               0.20   $350.00     $70.00
                       conference forms

Service   09/12/2018   Court Hearing: Court appearance for compliance                 5.50   $350.00   $1,925.00
                       conference; travel to and from.

Service   09/13/2018   Email: Email to Horn                                           0.10   $350.00     $35.00

Service   01/23/2019   Email: Email to Troy re: sending of Satisfaction of            0.10   $350.00     $35.00
                       Judgement

Service   01/25/2019   Receive & Review: review ADR Attorney Cert. Form               0.20   $350.00     $70.00
                       from court

Service   01/28/2019   Email: Email exchange with Horn re: 1/31 appearance,           0.70   $350.00    $245.00
                       ADR cert. form, confidentiality, and discovery
                       demands 6/5/18

Service   01/29/2019   Email: Email exchange with Danielle Enos re                    0.40   $350.00    $140.00
                       Friedman Bill cc to Horn

Service   01/30/2019   Receive & Review: Received Notice of Appearance of             1.30   $350.00    $455.00
                       new attorney Dan Abrams; filing(Substitution of




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                       attorney post RJI) (1/30-1/31); discussions with
                       Lambe; research Abrams' background and case
                       history

Service   02/04/2019   Conference: Confer w Charlie Horn about status           0.60   $350.00   $210.00
                       conference attended by associate.

Service   02/05/2019   Email: Email exchange with Strong re signing of          0.30   $350.00   $105.00
                       confidentiality stip. Email from Enos re Friedman bill

Service   02/06/2019   Receive & Review: Reviewed notice of filing(Stip-        0.10   $350.00    $35.00
                       Confidentiality)

Service   02/19/2019   Email: Received notice of appearance held on Feb 15.     0.20   $350.00    $70.00
                       and Kahlon confidentiality stip.

Service   02/21/2019   Email: Email exchange with Lambe re various case         0.50   $350.00   $175.00
                       requests/updates. reviewed ewatch alert The Clerk's
                       docket comments concerning this case have been
                       updated to the following: CASE REMANDED BACK
                       TO NASSAU COUNTY SUPREME COURT BY
                       LEONARD D. WEXLER, UNITED STATES DISTRICT
                       COURT.; STIP/DISC AS TO THE THIRD-PARTY
                       ACTION ONLY 10/25/17; PER TAA CASE IS
                       RELATED TO 609252/17 AND IS RE-ASSIGNED TO
                       VMD COMMERCIAL DIVISION; VMD 7/9/18 MOTION
                       001 TO DISQUALIFY IS DENIED.; STIPULATION
                       AND ORDER FOR THE PRODUCTION AND
                       EXCHANGE OF FONFIDENTIAL INFORMATION
                       SIGNED 2-20-19 BY VMD.

Service   02/25/2019   Receive & Review: Reviewed ewatch alert re; attorney     0.10   $350.00    $35.00
                       of record added

Service   02/27/2019   Receive & Review: review notice of filing (stip- so      0.30   $350.00   $105.00
                       ordered from court) Discussion with Lambe re stip.

Service   03/28/2019   Correspond: Emails and telephone calls with Kahlon's     1.80   $350.00   $630.00
                       new attorney, Dan Abrams re paper discovery already
                       exchanged. Set additional conference time for 4/1/
                       2019

Service   03/31/2019   Draft Summary: Report to Yitzhak and Lambe both          0.70   $175.00   $122.50
                       cases 1/2 Rate: Kahlon has new counsel, Dan
                       Abrams; will be having a conference with Abrams early
                       this week to feel him out about the case; letting go
                       local counsel, Charlie Horn and his firm; I will be
                       finalizing my accounting for fees owed on the Shotgun
                       case ; Depending on my next conference with Abrams,
                       I will make suggestions for moving forward. I don’t
                       think that bringing a third-party case against Botton
                       and Quinn is worthwhile in the defense. Erica, it may
                       be, however, that you have independent claims
                       against them for fees and costs incurred in the Lambe
                       v. Kahlon/Yitzhak case; does make sense to implead
                       TJ Management and Ed Gurin who have independent
                       liability for lying to Erica when she was representing




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                       Kahlon and Atlas; goal get minimum discovery done
                       and then move for summary judgment.

Service   05/07/2019   Receive & Review: Receive subpoena for me and              2.20    $350.00     $770.00
                       Verner Simon re settlement records; letter to Abrams
                       re Motion to Quash

Service   05/10/2019   Email: Emails between counsel confirming deposition        1.10    $350.00     $385.00
                       dates; telephone call from Meister Selig counsel re
                       privilege; telephone call Dan Abrams re same; emails
                       re start time of Yitzhak depo; emails back and fort
                       setting time; additional emails about case handling

Service   05/12/2019   Prep Deposition: Prepare for Kahlon deposition;            5.00    $350.00    $1,750.00
                       analyze proofs; choose and organize exhibits to use

Service   05/13/2019   Emails to and from client discussing Yitzhak testimony     0.60    $350.00     $210.00
                       and billing.

Service   05/13/2019   Deposition: Prepare for and Conduct Deposition of          8.70    $350.00    $3,045.00
                       Kahlon; travel time.

Service   05/14/2019   Email: Confirming call with client at 12.                  0.20    $350.00      $70.00

Service   05/15/2019   Email: Several emails re: deposition with Yitzhak.         1.00    $350.00     $350.00
                       Discussion of rescheduling with Abrams, and notice of
                       filing: Letter to Judge DeStefano

Service   05/16/2019   Email: Emails to/from Yitzhak and Abrams discussing        2.20    $350.00     $770.00
                       rescheduling of deposition and invoicing;
                       correspondence with Court re Abrams request to so-
                       order the date; telephone conference with Court;
                       subsequent telephone call with Abrams.

Service   05/17/2019   Receive & Review: Receive and review: Stipulated           0.70    $350.00     $245.00
                       deposition date. emails from Abrams about deposition.

Service   05/18/2019   Email: Emails w/ client re: billing                        0.40    $350.00     $140.00

Service   05/19/2019   Email: emails with client re: strange email from Noa       0.20    $350.00      $70.00
                       Ben Dor

Service   05/19/2019   Email: emails with client re: strange email from Noa       0.20    $350.00      $70.00
                       Ben Dor

Service   05/20/2019   Receive & Review: Rec&review documents form Koh            1.50    $350.00     $525.00
                       re: Yitzhak. Emails to/from Yitzhak re: call and billing

Service   05/21/2019   Receive & Review: Rec&review Consent to Withdraw           0.60    $350.00     $210.00
                       from Murphy. Emails to and from Yitzhak re: billing

Service   05/21/2019   Receive & Review: Rec&review Consent to Withdraw           0.60    $350.00     $210.00
                       from Murphy. Emails to and from Yitzhak re: billing

Service   05/23/2019   Receive & Review: Court comments                           0.30    $350.00     $105.00

Expense   05/29/2019   E115 Deposition transcripts: Deposition of Kahlon          1.00   $1,331.50   $1,331.50




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Service   06/03/2019   Email: Emails to and from Yitzhak about trial             1.50   $350.00    $525.00
                       documents

Service   06/03/2019   Prep Deposition: Prepare Yitzhak for her deposition in    3.90   $350.00   $1,365.00
                       this matter; review trial transcripts; review
                       correspondence with Edward.

Service   06/04/2019   Email: Emails to and from client and Koh about            1.50   $350.00    $525.00
                       deposition and letter

Service   06/04/2019   Deposition: Conduct deposition of Yitzhak in this         9.00   $350.00   $3,150.00
                       matter; post depo conference; travel to and from

Service   06/05/2019   Email: email to and from client re: Kahlon and            1.00   $350.00    $350.00
                       deposition

Service   06/06/2019   Email: email exchange with Yitzhak, Abrams, and           2.30   $350.00    $805.00
                       Murphy re: documents

Service   06/07/2019   Receive & Review: rec&review: notice of deposition        0.30   $350.00    $105.00
                       and exhibits

Service   06/08/2019   Email: email exchange with Abrams filing a motion         0.40   $350.00    $140.00

Service   06/09/2019   Email: email exchange with Yitzhak re: testimony          0.30   $350.00    $105.00

Service   06/12/2019   Email: email exchange with client about subpeona          0.30   $350.00    $105.00

Service   06/13/2019   Email: Email exchange with Abrams re: Yitzhak             0.30   $350.00    $105.00
                       testimony

Service   06/17/2019   Email: email exchange re: subpoena                        0.40   $350.00    $140.00

Service   06/20/2019   Email: email exchange re: Abrams and subpoena for         0.40   $350.00    $140.00
                       me and Verner Simon

Service   06/21/2019   Email: Email exchange with Abrams re: documents           0.30   $350.00    $105.00

Service   06/25/2019   Email: email exchange with Yitzhak re: billing            0.80   $350.00    $280.00

Service   06/27/2019   Email: emails with Abrams re: non privilege logs          0.20   $350.00     $70.00

Service   06/28/2019   Receive & Review: Receive Notice to Admit facts re        1.20   $350.00    $420.00
                       settlement and Kahlon exclusion; note to file

Service   07/01/2019   Email: Emails to/from Abrams re:documents                 0.20   $350.00     $70.00

Service   07/08/2019   Email: Email from Abrams re privilege log                 0.10   $350.00     $35.00

Service   07/11/2019   Receive & Review: rec&review notice of filing letter to   0.10   $350.00     $35.00
                       judge

Service   07/15/2019   Abstract: Abstract summary of Kahlon Deposition;          2.80   $350.00    $980.00
                       memo to file

Service   07/15/2019   Receive & Review: Receive and review Notice to            2.10   $350.00    $735.00
                       Admit post deposition re the issue of mitigation of
                       Kahlon's damages; analyze same; email to Yitzhak




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Service   07/16/2019   Abstract: Abstract summary of Yitzhak Deposition -        3.80   $350.00   $1,330.00
                       memo to file (cross-reference Kahlon)

Service   07/18/2019   Email: email exchange with Abrams and Yithzak re:         0.80   $350.00    $280.00
                       deposition of Yitzhak

Service   07/19/2019   Email: email exchnage with court and Abrams about         0.60   $350.00    $210.00
                       certification conference

Service   07/22/2019   ET: Text transmission Lambe and me re certification       0.30   $350.00    $105.00
                       conference and subpoena on me

Service   07/23/2019   Email: email exchnage with Lambe re: letter to Erica      0.30   $350.00    $105.00

Service   07/24/2019   Email: Email from Lambe re: letter to Yitzhak             0.10   $350.00     $35.00

Service   07/29/2019   Email: email exchange with Abrams re: adjourn             1.00   $350.00    $350.00
                       request

Service   07/30/2019   Email: email exchange with court and Abrams re            0.60   $350.00    $210.00
                       adjournment

Service   07/30/2019   Court: Attend compliance conference J. DeStefeno -        6.00   $350.00   $2,100.00
                       argue against subpoena and deposition of Verner
                       Nassau County - travel

Service   07/30/2019   Draft Discovery: Draft and serve answer to first Notice   1.00   $350.00    $350.00
                       to Admit

Service   07/31/2019   Receive & Review: notice of filing : letter to judge      0.20   $350.00     $70.00

Service   08/02/2019   Receive & Review: Notice of apperance held                0.20   $350.00     $70.00

Service   08/05/2019   Receive & Review: Review exhibits from Abrams             0.20   $350.00     $70.00

Service   08/05/2019   Receive & Review: Exhibits received from Dan              2.10   $350.00    $735.00
                       Abrams from Yitzhak's deposition - outline contents

Service   08/13/2019   Email: Email from Abrams re; Kahlon transcript            0.20   $350.00     $70.00

Service   08/13/2019   Receive & Review: Receive second Notice to Admit;         1.10   $350.00    $385.00
                       outline

Service   08/14/2019   Email: email to and from Abrams re: kalhon depostion      0.20   $350.00     $70.00

Service   08/15/2019   Email: email to and from Abrams re: kalhon depostion      0.20   $350.00     $70.00

Service   08/21/2019   Receive & Review: Review expert report of Marjorie        2.70   $350.00    $945.00
                       Berman; outline issues; determine responsive position

Service   08/22/2019   Email: Email exchange with Yitzhak re:expert report       0.90   $350.00    $315.00

Service   09/18/2019   Email: email exchange with Abrams about conference        0.30   $350.00    $105.00

Service   09/19/2019   Email: email exchange with court and Abrams re            1.50   $350.00    $525.00
                       telephone conference; conduct telephone conference
                       re certification

Service   09/20/2019   receive and review re: notice of apperances               0.50   $350.00    $175.00




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Service   09/21/2019   Email: Emails to and from lambe re: call                  0.30     $350.00     $105.00

Service   09/23/2019   Draft Discovery: Draft Answer to SECOND Notice to         2.00     $350.00     $700.00
                       Admit post deposition re the issue of mitigation of
                       Kahlon's damages; analyze same

Service   10/15/2019   Email: email exchnage with Abrams about telehpone         0.30     $350.00     $105.00
                       conference

Service   11/12/2019   Receive & Review: review emails between court and         0.30     $350.00     $105.00
                       Abrams re: certification order

Service   11/18/2019   Email: Email exchange with clients re: status update to   1.00     $350.00     $350.00
                       case

Service   11/20/2019   Receive & Review: review notice of apperance              0.30     $350.00     $105.00

Service   11/21/2019   Receive & Review: (11/21-11/29) notice of filing,         0.70     $350.00     $245.00
                       Certification for Trial

Service   12/03/2019   Email: Email exchange with clients and opposition re:     0.90     $350.00     $315.00
                       UCC-1 never terminated

Service   12/04/2019   Email: Email exchange with Yitzhak re: sealing motion     0.60     $350.00     $210.00

Service   12/05/2019   Email: Email exchange with Botton and Abrams RE;          1.00     $350.00     $350.00
                       UCC-1

Service   12/09/2019   Email: Email exchange with Yitzhak re: telephone          1.00     $350.00     $350.00
                       conference

Service   12/09/2019   Email: Emails back and forth with defense counsel and     0.70     $350.00     $245.00
                       Botton re never terminated UCC 1

Service   12/09/2019   ET: Text transmissions Lambe to me and back re            0.80     $350.00     $280.00
                       settlement and funding/billing - resolved to provide
                       accounting; Lambe ignored settlement issues and
                       disavowed nature of indemnification.

Service   12/17/2019   Email: emails to clients re: summary judgement            0.50     $350.00     $175.00

Service   12/23/2019   Draft Memo: Draft report to Lambe re various issues       1.00     $350.00     $350.00
                       and regarding financing and expenses and settlement
                       authority for 1/8/2020

Service   01/03/2020   Draft Letter: NOTE BILLING PRICES INCREASED               2.40     $350.00     $840.00
                       10% AS OF 1/1/2020 Draft letter to court re
                       adjournment of settlement conference and summary
                       judgment dates; draft email to clients regarding the
                       issues rising; email exchanges with clients about the
                       reasons for the adjournment and potential conflicts;
                       follow up email exchanges

Service   01/03/2020   Email: Follow up w Botton's office re filed UCC1          0.10     $385.00      $38.50
                       termination


                                                                                        Total       $95,985.66




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                                              PageID #: 615             Invoice # 237 - 01/05/2020




Detailed Statement of Account

 Current Invoice

    Invoice Number              Due On         Amount Due            Payments Received        Balance Due

 237                           01/05/2020            $95,985.66                       $0.00     $95,985.66

                                                                       Outstanding Balance      $95,985.66

                                                                   Total Amount Outstanding     $95,985.66




Please make all amounts payable to: Verner Simon

Payment is due upon receipt.




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